Case 24-50792-hlb Doc61 Entered 10/18/24 15:34:13 Page 1 of 78

NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA id (X01) 0) 0
Das WOR One bh

Name of Debtor: Case Number:

META MATERIALS INC. 24-50792

1. Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor. Referred to hereinafter as the O Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to

your interest. Attach copy of statement

giving particulars.

Michael Edward Satterfield
1208 SW 2nd Ct Apt 3 li Check box if you have never received

any notices from the bankruptcy courtor

Fort Lauderdale, FL 33312 the Debtors in this case.

0) Check box if this address differs from

Telephone Number: the address on the envelope sent to you by
b LY _— — the Debtors.

COURT USE ONLY |
|
Ee!
Account or other number by which Interest holder identifies Debtor: Check here if this claim:
OC replaces a previously filed Proof of Interest dated:
1529-1318,2717-4323,9528-0844,659 1-5093 4009-6252 O amends a previously filed Proof of Interest dated:
2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the Equity Interest asserted in this Proof of Interest:
Charles Schwab & Co., Inc. Omaha Operations Center 200 § 108th Ave Ss hdc KW Me be
- “
Omaha, NE 68154 \| Ef\9V9S — ee CL
Telephone Number: g “) q _ S \4 — \ 404
4. Total amount of member interest:_2602 5. Certificate number(s): N/A -- Held electronically |

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
C1 Check this box if your Equity Interest is based on an actual member interest held in the Debtor. |
Check this box if your Equity Interest is based on anything else and describe that interest: |
Description: Stock Holder

7, Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of
Interest.

9, Signature:
Check the appropriate box.

@ | am the creditor. (I am the creditor’s authorized agent. © I am the trustee, or the debtor, © | ama guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attorney, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: a \ Edluerdf Satdecfielol

Title: o
Company:__ Address and telephone number (if different from notice —=—_— io lio Ou
address above): (Signature) (Date) |

Telephone number: 954 (049-79 5g illes UGBO eerthti La tr

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C. §§ 152 AND 3571

@ Roth Contributory IRA of
eas MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
ROTH CONTRIBUTORY IRA mw -6252 September 1-30, 2024

Account Number = Statement Period

NOls G7. 0e

£0 Account Summary
“i _ Ending Account Value as. of 0990 Beginning Account Value as of 09/01
5 $411.44 |. $482.20. :
: ee 4 $8.77K
a : :
+ SS _ $3.04K
o :
i ‘NS
‘ $2.30K
wt ‘N
A \ |
oO . :
oq \ | $1.57K
3 NN te a
ig Se a Se
Oo mo
~ | $0.83K
o SN
Mo Ne eee —
a
‘iG $0.10K
Manage Your Account Oct'23. Nov Dec Jan'24 Feb Mar Apr May Jun Jul Aug Sep
This Statement YTD
¢eustomer Service and Trading:
{all your Schwab Representative Beginning Value $432.20 $2,033.76
Cl-800-435-4000 nA .
(24/7 Customer Service - N Deposits 0.00 0.00
For the most current records on your account a 2 a Withdrawals 0.00 0.00
Qisit schwab.coméogin. Statements are io Oo oO
archived up to 10 years online. te 2 2 Dividends and Interest 0.12 1.07
N <
o> WS Transfer of Securities
Commitment to Transparency Ee Q > a 0.00 0.00
u Market Appreciation/(Depreciation . 1 .
“iGlient Relationship Summaries and Best Interest a = Oo WwW PP (Dep ) (20.88) (1,623.39)
cdiisclosures are at schwab.com/transparency. ct 5 E Zz Expenses 0.00 0.00
aSharles Schwab & Co., Inc. Member SIPC. $226 9 _ _. i
« aSES Ending Val  gat4e 811
COnline Assistance Ww o 3 ai 5 SESE EEE ona eeeioc ESSE Ea fg pr geo Tb op : : Sod SSE ee meee | 3 ASS
[S) Visi mw os 3s Account Ending Value reflects the market value of your cash and investments. t does not include pending
J Visit us online at schwab.com = r TOo, transactions, unpriced securities or assets held outside Schwab's custody.
wo."
Visit schwab.com/stmt to explore the features O + 5 § r 5
and benefits of this statement. 2ocrete

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MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
ROTH CONTRIBUTORY IRA

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Statement Period
September 1-30, 2024

sset Allocation
Current
This Period Allocation

a Cash and Cash Investments 314.87 77%
a Equities 96.57 23%

age 3 of 48

$411.44

Income Summary

ok

“Total $411.44 100%
=

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Top Account Holdings This Period

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oS YMBOL Market % of
CPruSsIP Description Value Accounts
S CHARLES SCHWAB BANK 314.87 77%
O

aMMATQ META MATLS INC 96.57 23%
c

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_ Gain or (Loss) Summary

co oy:

© All Positions

A Gain (Loss) Net
‘co this Period 0.00 0.00 0.00

YTD 0.00

0.00 0.00
Unrealized oe

© ($49,571.43) _

LOValues may not reflect all of your gains/losses; Schwab has provided accurate gain and loss information
herever possible for most investments. Cost basis may be incomplete or unavailable for some of your
oldings and may change or be adjusted in certain cases. Please login to your account at Schwab.com for

heal-time gainfloss information. Statement information should not be used for tax preparation, instead refer

Mo official tax documents. For additional information refer to Terms and Conditions.

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A Message About Your Account
Statement of Financial Condition

The most recent statement of financial condition for Charles Schwab & Co., Inc. (CS&Co) may be obtained at no cost at http:/Awww.schwab.com/legal/financials or by calling

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0.12 0.2
Beet bpd po 0
Jan May = Jun Sep Oct Nov Dec
This Period YTD
Bank Sweep Interest 1.07
Total Income 5 gt O7-
Retirement Details
Contributions 2023 2024
‘TotalYTD($) 0.00

4-800-435-4000. For clients of independent investment advisors, contact Schwab Alliance at 1-800-647-5465. International clients, call +1-415-667-7870 and Charles Schwab Hong Kong

clients, call +852-2101-0500. At June 30, and July 31, 2024, CS&Co had net capital of $8.8 billion and $9.0 billion, respectively, and a net capital requirement of $1.7 billion and $1.8

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Roth Contributory IRA of

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MICHAEL EDWARD SATTERFIELD
eres CHARLES SCHWAB & CO INC CUST
ROTH CONTRIBUTORY IRA

cof Message About Your Account (continued)

Statement Period

September 1-30, 2024

billion, respectively. A copy of the report may be requested via: Investor Relations, 211 Main Street, San Francisco, CA 94105. Independent investment advisors are not owned by,

‘Oaffiliated with, or supervised by CS&Co.

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Positions - Summary

: Beginning Value es ~ Transfer ot ae Dividends _ = : ee Change in* Ending Value. ae : “Unrealized:
on “as of 09/01 oe _ Secures (vOut) - Rleinvested - oe Cash cy, cn Market Value." == -as of 09/30 Cost Basig 0 Gaini{Loss) :
yo ee 20 fs = 80. 00 = O00 00 $0. 12 | 620. 88) Sant 44 $49, 668. 00. ee 571. 43)
9 Values n may not reflect ail of y your 1 gainsosses: Schwab has provided accurate gain and loss information wherever possible for most investments. Cost basis may be incomplete or unavailable for some of your holdings
<t and may change or be adjusted in certain cases. Statement information should not be used for tax preparation, instead refer to official tax documents. For additional information refer to Terms and Conditions.
N
oO
=Cash and Cash Investments
So Beginning Ending Change in Period Pending/Unsettled Interest/ % of
solype Symbol Description Quantity Price($) Balance($) Balance($) Balance($) Cash($) Yield Rate Acct
oD
Bank Sweep CHARLES SCHWAB 314.75 314.87 0.12 0.20% 77%
ce BANK*2

Total ‘Cash and Cash Investments: $814.75 - $314.87 | $0.12: 77%.
©
oO
© wg: og:

Positions - Equities

Unrealized Est. Annual % of

Symbol —_— Description Quantity Price($) Market Value($) Cost Basis($) Gain/(Loss)($) Est. Yield Income($) Acct
<&
AMMATO META MATLS INC 261.0000 0.37000 96.57 49,668.00 (49,571.43) N/A 0.00 23%
R STotlequiies BS L ($96.57 $49,668.00 ($49,571.43) 80.00 28%

“estimated Annual Income CEA) ) and Estimated Yield ( Ev) calculations are for informational purposes only. The actual income and vield might be lower or higher than the estimated amounts. EY is based upon EAI and

the current price of the security and will fluctuate. For certain types of securities, the calculations could include a return of principal or capital gains in which case EAI and EY would be overstated. EY and EAI are not

promptly updated to reflect when an issuer has missed a regular payment or announced changes to future payments, in which case EAI and EY will continue to display at a prior rate.

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MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
ROTH CONTRIBUTORY IRA

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STransactions - Summary

Statement Period /
September 1-30, 2024

eamig Cash" Bas ot 09/01 + Oats . + ‘Withdrawals Purchases. : ae ‘Saesmedemptons - Dhidendsintrest + “Expenses” = = Ending Cash” as of 09/30
2. $314. 75. $0. 00 = $0.00. ae 00 ee $0 00 a 12. ~~ $0.00. $3148 87
4 Other Activity $0.00 : Other activity includes transactions which don't affect the cash balance such as stock transfers, splits, etc.
ShCash (includes any cash debit balance) held in your account plus the value of any cash invested in a sweep money fund.
oO
Ww
od
“Transaction Details
oO Symbol/ Price/Rate Charges/ Realized
Pate Category Action CUSIP Description Quantity per Share($) Interest($) Amount($) Gain/(Loss)($}
“09/6 Interest = Bank Interest *2 BANK INT 081624-091524 0.12

m -
2 Total Transactions ee | $0.12 $0.00
=pate column represents the Settlement/Process date for each transaction.
Lu
_Bank Sweep Activity
‘Spate Description Amount Date Description Amount
Cosi Beginning Balance *? SS 2 $314. 5 09/30 Ending Balance *2 _ : $314.87

09/15 BANK INTEREST - CHARLES SCHWAB BANK *2

-hl

Ne Your interest period was 08/16/24 - 09/15/24.

ndnotes For Your Account

x Bank Sweep deposits are held at FDIC-insured Program Banks, which are listed in the Cash
Features Disclosure Statement.

Case 24- RP /92

Terms and Conditions

GENERAL INFORMATION AND KEY TERMS: This Account statement is furnished solely by Charles
Schwab & Co., Inc. ("Schwab") for your Account at Schwab ("Account"). Unless otherwise defined herein,
capitalized terms have the same meanings as in your Account Agreement. If you receive any other
communication from any source other than Schwab which purports to represent your holdings at Schwab

Zz For the Bank Sweep and Bank Sweep for Benefit Plans features, interest is paid for a period
that differs from the Statement Period. Balances include interest paid as indicated on your
statement by Schwab or one or more of its Program Banks. These balances do not include
interest that may have accrued during the Statement Period after interest is paid. The interest
paid may include interest that accrued in the prior Statement Period.

(including balances held at a Depository Institution) you should verify its content with this statement.
Accrued Income: Accrued Income is the sum of the total accrued interest and/or accrued dividends on
positions held in your Account, but the interest and/or dividends have not been received into your Account.
Schwab makes no representation that the amounts shown (or any other amount) will be received. Accrued

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Roth Contributory IRA of

MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
ROTH CONTRIBUTORY IRA

Terms and Conditions (continued)

“amounts are not covered by SIPC account protection until actually received and held in the Account. AIP
(fAutomatic Investment Plan) Customers: Schwab receives remuneration in connection with certain
ransactions effected through Schwab. If you participate in a systematic investment program through
chwab, the additional information normally detailed on a trade confirmation will be provided upon request.
M@Average Daily Balance: Average daily composite of all cash balances that earn interest and all loans from
Ogchwab that are charged interest. Bank Sweep and Bank Sweep for Benefit Plans Features: Schwab
acts as your agent and custodian in establishing and maintaining your Deposit Account(s) as a feature of
our brokerage Account(s}. Deposit accounts held through these bank sweep features constitute direct

. Obligations of one or more FDIC insured banks ("Program Banks") that are not obligations of Schwab.
unds swept to Program Banks are eligible for deposit insurance from the FDIC up to the appiicabte limits

‘or each bank for funds held in the same insurable capacity. The balance in the Deposit Accounts can be
ithdrawn on your order and the proceeds returned to your brokerage Account or remitted to you as provided
<n your Account Agreement. For information on FDIC insurance and tts limits, as well as other important
Cisclosures about the bank sweep feature(s) in your Account(s), please refer to the Cash Features
cisclosure Statement available online or from a Schwab representative. Cash: Any Free Credit Balance
Sbwed by us to you payable upon demand which, although accounted for on our books of record, is not
Csegregated and may be used in the conduct of this firm's business. Dividend Reinvestment Customers:
“Dividend reinvestment transactions were effected by Schwab acting as a principal for its own account,
xcept for the reinvestment of Schwab dividends, for which an independent broker-dealer acted as the
uying agent. Further information on these transactions will be furnished upon written request. Gain (or
oss): Unrealized Gain or (Loss) and Realized Gain or (Loss) sections ("Gain/Loss Section(s)") contain a
(gain or a loss summary of your Account. This information has been provided on this statement at the
request of your Advisor, if applicable. This information is not a solicitation or a recommendation to buy or
sell. Schwab does not provide tax advice and encourages you to consult with your tax
‘professional. Please view the Cost Basis Disclosure Statement for additional information on how
gain (or loss) is calculated and how Schwab reports adjusted cost basis information to the IRS.
Gnterest: For the Schwab One Interest, Bank Sweep, and Bank Sweep for Benefit Plans features, interest is
Chaid for a period that may differ from the Statement Period. Balances include interest paid as indicated on
your statement by Schwab or one or more of its Program Banks. These balances do not include interest that
“cynay have accrued during the Statement Period after interest is paid. The interest paid may include interest
“Ghat accrued in the prior Statement Period. For the Schwab One Interest feature, interest accrues daily from
che second-to-last business day of the prior month and is posted on the second-to-last business day of the
Owturrent month. For the Bank Sweep and Bank Sweep for Benefit Plans features, interest accrues daily from
the 16th day of the prior month and is credited/posted on the first business day after the 15th of the current
”emonth. If, on any given day, the interest that Schwab calculates for the Free Credit Balances in the Schwab
<fone Interest feature in your brokerage Account is less than $.005, you will not accrue any interest on that
Cay. For balances held at banks affiliated with Schwab in the Bank Sweep and Bank Sweep for Benefit
dPlans features, interest will accrue even if the amount is less than $.005. Margin Account Customers:
(this is a combined statement of your margin account and special memorandum account maintained for you
Cynder Section 220.5 of Regulation T issued by the Board of Governors of the Federal Reserve System. The
permanent record of the separate account as required by Regulation T is available for your inspection.
Securities purchased on margin are Schwab's collateral for the loan to you. It is important that you fully
understand the risks involved in trading securities on margin. These risks include: 1) You can lose more
funds than you deposit in the margin account; 2) Schwab can force the sale of securities or other assets in
any of your account(s) to maintain the required account equity without contacting you; 3) You are not entitled
to choose which assets are liquidated nor are you entitled to an extension of time on a margin call; 4)
Schwab can increase its “house” maintenance margin requirements at any time without advance written
notice to you. Market Price: The most recent price evaluation available to Schwab on the last business day

Statement Period
September 1-30, 2024

of the report period, normally the last tirade price or bid as of market close. Unpriced securities denote that
no market evaluation update is currently available. Price evaluations are obtained from outside parties.
Schwab shall have no responsibility for the accuracy or timeliness of any such valuations. Assets Not Held
at Schwab are not held in your Account or covered by the Account's SIPC account protection and are not
otherwise in Schwab's custody and are being provided as a courtesy to you. Information on Assets Not Held
at Schwab, including but not limited to valuations, is reported solely based on information you provide to
Schwab. Schwab can neither validate nor certify the existence of Assets Not Held at Schwab or the
accuracy, completeness or timeliness of the information about Assets Not Held at Schwab, whether
provided by you or otherwise. Descriptions of Assets Not Held at Schwab may be abbreviated or truncated.
Some securities, especially thinly traded equities in the OTC market or foreign markets, may not report the
most current price and are indicated as Stale Priced. Certain Limited Partnerships (direct participation
programs) and unlisted Real Estate Investment Trust (REIT) securities, for which you may see a value on
your monthly Account statement that reflects the issuer's appraised estimated value, are not listed on a
national securities exchange, and are generally illiquid. Even if you are able to sell such securities, the price
received may be less than the per share appraised estimated value provided in the account statement.
Market Value: The Market Value is computed by multiplying the Market Price by the Quantity of Shares.
This is the dollar value of your present holdings in your specified Schwab Account or a summary of the
Market Value summed over multiple accounts. Non-Publicly Traded Securities: All assets shown on this
statement, other than certain direct investments which may be held by a third party, are held in your Account.
Values of certain Non-Publicly Traded Securities may be furnished by a third party as provided by Schwab's
Account Agreement. Schwab shail have no responsibility for the accuracy or timeliness of such valuaiions.
The Securities Investor Protection Corporation (SIPC) does not cover many limited partnership interests.
Schwab Sweep Money Funds: Includes the primary money market funds into which Free Credit Balances
may be automatically invested pursuant to your Account Agreement. Schwab or an affiliate acts and receives
compensation as the Investment Advisor, Shareholder Service Agent and Distributor for the Schwab Sweep
Money Funds. The amount of such compensation is disclosed in the prospectus. The yield information for
Schwab Sweep Money Funds is the current 7-day yield as of the statement period. Yields vary. If on any
given day, the accrued daily dividend for your selected sweep money fund as calculated for your account is
less than ¥% of 1 cent ($0.005), your account will not earn a dividend for that day. In addition, if you do not
accrue at least 1 daily dividend of $0.01 during a pay period, you will not receive a money market dividend for
that period. Schwab and the Schwab Sweep Money Funds investment advisor may be voluntarily reducing a
portion of a Schwab Sweep Money Fund's expenses. Without these reductions, yields would have been
lower. Securities Products and Services: Securities products and services are offered by Charles
Schwab & Co., Inc., Member SIPC. Securities products and services, including unswept intraday
funds and net credit balances held in brokerage accounts are not deposits or other obligations of,
or guaranteed by, any bank, are not FDIC insured, and are subject to investment risk and may lose
value. SIPC does not cover balances held at Program Banks in the Bank Sweep and Bank Sweep
for Benefit Plans features. Please see your Cash Feature Disclosure Statement for more information on
insurance coverage. Yield to Maturity: This is the actual average annual return on a note if held to maturity.
IN CASE OF ERRORS OR DISCREPANCIES: If you find an error or discrepancy relating to your
brokerage activity (other than an electronic fund transfer) you must notify us promptly, but no
later than 10 days after this statement is sent or made available to you. If this statement shows that
we have mailed or delivered security certificate(s) that you have not received, notify Schwab
immediately. You may call us at 800-435-4000. (Outside the U.S., call +1-415-667-8406.) If you're a
client of an independent investment advisor, call us at 800-515-2157. Any oral communications
should be re-confirmed in writing te further protect your rights, including rights under the
Securities Investor Protection Act (SIPA). If you do not so notify us, you agree that the statement
activity and Account balance are correct for all purposes with respect to those brokerage

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MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
ROTH CONTRIBUTORY IRA

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cferms and Conditions (continued)

‘ciransactions. IN CASE OF COMPLAINTS: If you have a complaint regarding your Schwab statemeni,
pbproducts or services, please write to Client Service & Support at Charles Schwab & Co., Inc., P.O. Box
82603 El Paso, TX 79998-2603, or call customer service at 800-435-4000. (Outside the U.S., call
7h1-415-667-8400.) If you're a client of an independent investment advisor, call us at 800-515-2157.
M@Address Changes: If you fail to notify Schwab in writing of any change of address or phone number, you
Omay not receive important notifications about your Account, and trading or other restrictions might be placed

on your Account. Additional Information: We are required by law to report to the Internal Revenue Service
adjusted cost basis information (if applicable), certain payments to you and credits to your Account during

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Statement Period
September 1-30, 2024

the calendar year. Retain this statement for income tax purposes. A financial statement for your inspection is
available at Schwab's offices or a copy will be mailed to you upon written request. Any third-party trademarks
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Bank, Charles Schwab Premier Bank, and Charles Schwab Trust Bank are separate but affiliated
companies and subsidiaries of the Charles Schwab Corporation. © 2024 Charles Schwab & Co., Inc.
("Schwab"). Ail rights reserved. Member SIPC. (O1CUSTNC) (0822-20UL)

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Transaction History for Roth Contributory IRA ...252

Transactions found from 09/29/2020 to 09/29/2024

Date y

Action

Symbol / Description

Quantity

Price

Fees & Comm

Amount

01/29/2024

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

41/22/2022

https://client.schwab.com/app/accounts/history/#/

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Date y

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Action

Symbol / Description

Quantity

Price

Fees & Comm

Amount

11/22/2022

11/22/2022

11/22/2022

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11/22/2022

Buy

Buy

Buy
Buy

Buy

11/22/2022

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11/22/2022

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Buy

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-$543.38

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Date y

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Action

Symbol / Description

Quantity

Price

Fees & Comm Amount

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

Buy

Buy

Buy

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11/22/2022

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-$185.84

-$202.00

-$1,616.00

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Date y

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Action

Symbol / Description Quantity

Price

Fees & Comm Amount

11/22/2022

11/22/2022

11/22/2022

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11/22/2022

11/22/2022

https://client.schwab.com/app/accounts/history/#/

Buy

Buy

Buy

Buy

Buy

Buy

Buy

Buy

Buy

Buy MMAT

MMAT 900
META MATLS
INC

MMAT 100

META MATLS
INC

MMAT 100

META MATLS
INC

MMAT
META MATLS
INC

MMAT
META MATLS
INC

MMAT 25

META MATLS
INC

MMAT 100

META MATLS
INC

MMAT
META MATLS
INC

MMAT 100

META MATLS
INC

META MATLS

1,800

1,800

2,400

2,200

$2.02

$2.02

$2.02

$2.02

$2.02

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$2.02

-$1,818.00

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-$202.00

-$3,636.00

-$3,636.00

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-$4,848.00

-$202.00

-$4,444.00

INC

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9/29/24, 6:06 PM

Case 24-50792-hlb Doc 61 Entered LQueittate twas Page 12 of 78

Date , Action Symbol / Description Quantity Fees & Comm Amount
06/03/2022 Buy MMAT 24 $1.80 -$43.20
META MATLS
INC
06/03/2022 Buy MMAT 36 = $1.80 -$64.80
META MATLS
INC
06/29/2021 Reverse MMAT 2,000
Split META MATLS
INC

Intra-day transactions are subject to change.

Page Total: -$48,588.00

Brokerage Account Balances are from the previous market close, but also may include new activity that will be

posted to your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found

on the Balances page.

(1123-3U5Y, 0924-CLCV)

Brokerage Products: Not FDIC Insured * No Bank Guarantee * May
Lose Value

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dealer subsidiary, Charles Schwab & Co. Inc. (Member SIPC), and its affiliates
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Schwab UK clients. © 2024 Charles Schwab & Co., Inc. All rights reserved.
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https://client.schwab.com/app/accounts/history/#/

Account: ...252
Today's Date: 05:57 PM ET,
09/29/2024

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Account Nickname

Ww ne® Account of
Schwab One ° Old TD account

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Statement Period
September 1-30, 2024

Account Number

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MICHAEL EDWARD SATTERFIELD

Account Summary

Uianage Your Account
This Statement YTD
<Customer Service and Trading:
Call your Schwab Representative Beginning Value $45.02 $60.27
©1-800-435-4000 a
ear Customer Service N Deposits 0.00 0.00
For the most current records on your account a a Withdrawals 0.00 0.00
Gyisit schwab.com/élogin. Statements are » .
“carchived up to 10 years online. iL 2 Dividends and Interest 0.02 0.17
1
XN - Wu Transfer of Securities 0.00 0.00
Commitment to Transparency EE 4
oO a iL Market Appreciation/(Depreciation) (0.23) (15.63)
Client Relationship Summaries and Best interest O Ww
Siisclosures are at schwab.com/transparency. Oy z Expenses 0.00 0.00
Pharies Schwab & Co., Inc. Member SIPC. $ oO a tie ttee. obey eee. ees cts
a ag Ww _ Ending Value $44.81 $44.81.
S i = < Account Ending Value reflects the market value of your cash and investments. It does not include pending
(s) Visit us online at schwab.com < oo transactions, unpriced securities or assets held outside Schwab's custody.
wo.
Visit schwab.com/stmt to explore the features g 8 a 5

and benefits of this statement.

09/30-00000-ID2221607-161127 *1 #1

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9 _ Ending Account Valueas of O90. . Beginning Account Value as of 09/01.

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Oct'23. Nov Dec Jan'24 Feb Mar Apr May Jun Jul Aug Sep

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Schwab One® Account of Account Nickname
Old TD account

Va agi ay

NOUS AZ.Us) Statement Period
MICHAEL EDWARD SATTERFIELD September 1-30, 2024

Income Summary

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™Asset Allocation

oO
st This Period Allocation
ad 0.8
w mi Cash and Cash Investments 41.16 92%
a 4: 5 0.6 &
a BR Eauitics fe "8
co "Total $44.81. 100% 4 8
4 eS : SUS ee op
Stinvestment Objective: ,
Growth - : 9,08 | dee eee eens wees sine O
9 Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
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N . Ce This Period YTD
Top Account Holdings This Period
Federal Tax Stat Tax

OsYMBOL Market % of leral Tax Status ax-Exempt Taxabie Tax-Exempt Taxable |
“cusip Description Value Accounts Bank Sweep Interest 0.00 0.02 0.00 0.17
D 2 are Se RRS SEE eee ee SU RTRs
S TD BANK USA NA 41.16 92% Totalincome  —=s«s—“‘é‘.0«~S*«*“‘«‘«COO $0.00 SAT.
SFUNN AMFIL TECHNOLOGIES 2.54 6% - EE OS o ’

MMATQ META MATLS ING 1.11 2%
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&Gain or (Loss) Summary

Short-Term 81 Long-Term (L?)
2
© Gain (Loss) Net Gain (Loss) Net
An
onThis 0.00 0.00 0.00 0.00 0.00 0.00
PSPeriod
LOYTD 0.00 0.00 0.00 0.00 0.00 0.00
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Walues may not reflect all of your gainsfosses and may be rounded up to the nearest dollar; Schwab has

(provided accurate gain and loss information wherever possible for most investments. Cost basis may be
incomplete or unavailable for some of your holdings and may change or be adjusted in certain cases.
Please login to your account at Schwab.com for real-time gainfloss information. Statement information
should not be used for tax preparation, instead refer to official tax documents. For additional information
refer to Terms and Conditions.

2 of 6
Schwab One® Account of Account Nickname
Old TD account

SOLS A V.062 Statement Period _
MICHAEL EDWARD SATTERFIELD September 1-30, 2024

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'A Message About Your Account

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.oStatement of Financial Condition

“The most recent statement of financial condition for Charles Schwab & Co., Inc. (CS&Co)} may be obtained at no cost at http:/Awww.schwab.com/legal/inancials or by calling

S1-800-435-4000. For clients of independent investment advisors, contact Schwab Alliance at 1-800-647-5465. International clients, call +1-415-667-7870 and Charles Schwab Hong Kong

clients, call +852-2101-0500. At June 30, and July 31, 2024, CS&Co had net capital of $8.8 billion and $9.0 billion, respectively, and a net capital requirement of $1.7 billion and $1.8
billion, respectively. A copy of the report may be requested via: Investor Relations, 211 Main Street, San Francisco, CA 94105. Independent investment advisors are not owned by,

affiliated with, or supervised by CS&Co.

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st
«Positions - Summary
stes*. Beginning Value 200) Transfer. oe coe Dividends. = be Changein 0) Ending Value =e Be Unrealized
LY asof0901 SeourtiestIvOut) + _Reinvested- 7 Gash Activity a Market Value = as of 09/30. ~ Cost Basis. oS “ Gaini(Loss)
a $46. 02° $0.0 00 — $0. 00 "$0. 02. _ 0. 23) He $44.81 oe $13 316. 40 1, 312. 75)
Geeks .
O Values may not reflect all of your ir gainsfosses: Schwab has s provided accurate ¢ gain and loss information wherever possible for most investments. Cost basis may be incomplete or unavailable for some of your holdings
® and may change or be adjusted in certain cases. Statement information should not be used for tax preparation, instead refer to official tax documents. For additional information refer to Terms and Conditions.
Oo
c
Cash and Cash Investments
4 Beginning Ending Change in Period Pending/Unsettled Interest/ % of
colype Symbol Description Quantity Price($} Balance(S) Balance($) Balance(S) Cash($) Yield Rate Acct
SB ank Sweep TD BANK USA NA*2 41.14 41.16 0.02 0.20% 92%

Total Cash and Cash Investments oe $414 $41.16 $0.02. oe 92%
c
N
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‘Positions - Equities
ip Unrealized Est. Annual % of
Symbol Description Quantity Price($) Market Value($) Cost Basis($) Gain/(Loss)($) Est. Yield iIncome($) Acct
FUN AMFIL TECHNOLOGIES 500.0000 0.00507 2.54 90.45 (87.91) N/A 0.00 6%
Samara META MATLS INC 0.37000 1.14 1,225.95 (1,224.84) N/A 0.00 2%

$3.65. Bea $1, 31 6.40 @, 312, 78)

‘Total Equ ies

- $0.00 oe 8% :

Estimated Annual Income (EAN) a and Estimated Yield i EY") calculations are for informational purposes only. 7 The actual income and yield be lower or higher than the estimated amounts. EY is based upon EA! and
the current price of the security and will fluctuate. For certain types of securities, the calculations could include a return of principal cr capital gains in which case EAl and EY would be overstated. EY and EAI are not
promptly updated to reflect when an issuer has missed a regular payment or announced changes to future payments, in which case EAI and EY will continue to display at a prior rate.

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Account Nickname
Old TD account

Statement Period _
September 1-30, 2024

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a Beginning Cash" as 5 of g/t Depos' t Purchases, =: + SaewRedemptons - Expenses = Ending Cash? a as of 09/80
2 ae 140 $0.00 80. 00 80. 00° $0. 00 $0.02 ‘$0. 00 $41. 16

0: Other 5 Activity $0.00 Other activity includes transactions which don't affect the cash balance such as stock transfers, splits, etc.

Tt .

+ Cash (includes any cash debit balance) held in your account plus the value of any cash invested in a sweep money fund.

is

o . .

<Transaction Details

a Symbol/ Price/Rate Charges/ Realized

—Date Category Action CUSIP Description Quantity per Share($) Interest($) Amount($) Gain/(Loss)($)

So9/16 Interest Bank Interest %4 BANK INT 081624-091524 0.02

© Total Transactions _ sees os ee Tene ee oh | $0.02: $0.00.
2pate column represents the Settlement/Process date for each transaction.

LU

_Bank Sweep Activity

oo Description Amount Date Description Amount
Gost ‘Beginning Balance? Se Se - gaita 09/30 Ending Balance *2 S S $41.16
09/15 BANK INTEREST - TD BANK USA NA XZ 0.02 99) est Rate "2 020m

<
cu’ Your interest period was 08/16/24 - 09/15/24. 7

2Endnotes For Your Account

Xx Bank Sweep deposits are held at FDIC-insured Program Banks, which are listed in the Cash
Features Disclosure Statement.

Case 24-

Terms and Conditions

GENERAL INFORMATION AND KEY TERMS: This Account statement is furnished solely by Charles
Schwab & Co., Inc. ("Schwab") for your Account at Schwab ("Account"). Unless otherwise defined herein,
capitalized terms have the same meanings as in your Account Agreement. If you receive any other
communication from any source other than Schwab which purports to represent your hoidings at Schwab

Zz For the Bank Sweep and Bank Sweep for Benefit Plans features, interest is paid for a period
that differs from the Statement Period. Balances include interest paid as indicated on your
statement by Schwab or one or more of its Program Banks. These balances do not include
interest that may have accrued during the Statement Period after interest is paid. The interest
paid may include interest that accrued in the prior Statement Period.

(including balances held at a Depository Institution) you should verify its content with this statement.
Accrued Income: Accrued Income is the sum of the total accrued interest and/or accrued dividends on
positions held in your Account, but the interest and/or dividends have not been received into your Account.
Schwab makes no representation that the amounts shown (or any other amount) will be received. Accrued

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Terms and Conditions (continued)

‘Camounts are not covered by SIPC account protection until actually received and held in the Account. AIP
{Automatic Investment Plan) Customers: Schwab receives remuneration in connection with certain
“transactions effected through Schwab. If you participate in a systematic investment program through
Schwab, the additional information normally detailed on a trade confirmation will be provided upon request.
“Average Daily Balance: Average daily composite of all cash balances that earn interest and all loans from
OSchwab that are charged interest. Bank Sweep and Bank Sweep for Benefit Plans Features: Schwab
acts as your agent and custodian in establishing and maintaining your Deposit Account(s) as a feature of
qoyour brokerage Account(s). Deposit accounts held through these bank sweep features constitute direct
<bdbligations of one or more FDIC insured banks ("Program Banks") that are not obligations of Schwab.
<tFunds swept to Program Banks are eligible for deposit insurance from the FDIC up to the applicable limits
For each bank for funds held in the same insurable capacity. The balance in the Deposit Accounts can be
LOwithdrawn on your order and the proceeds returned to your brokerage Account or remitted to you as provided
“in your Account Agreement. For inforrnation on FDIC insurance and its limits, as well as other important
Afisclosures about the bank sweep feature(s} in your Account(s), please refer to the Cash Features
isclosure Statement available online or from a Schwab representative. Cash: Any Free Credit Balance
owed by us to you payable upon demand which, although accounted for on our books of record, is not
Gpegregated and may be used in the conduct of this firm's business. Dividend Reinvestment Customers:
—Dividend reinvestment transactions were effected by Schwab acting as a principal for its own account,
cexcept for the reinvestment of Schwab dividends, for which an independent broker-dealer acted as the
Qpuying agent. Further information on these transactions will be furnished upon written request. Gain (or
Loss): Unrealized Gain or (Loss) and Realized Gain or (Loss) sections ("Gain/Loss Section(s)"} contain a
aren or a loss. summary of your Account. This information has been provided on this statement at the
equest of your Advisor, if applicable. This information is not a solicitation or a recommendation to buy or
sell. Schwab does not provide tax advice and encourages you to consult with your tax
professional. Please view the Cost Basis Disclosure Statement for additional infermation on how
gain {or loss) is calculated and how Schwab reports adjusted cost basis information to the IRS.
nterest: For the Schwab One Interest, Bank Sweep, and Bank Sweep for Benefit Plans features, interest is
Cpaid for a period that may differ from the Statement Period. Balances include interest paid as indicated on
your statement by Schwab or one or more of its Program Banks. These balances do not include interest that
ay have accrued during the Statement Period after interest is paid. The interest paid may include interest

hat accrued in the prior Statement Period. For the Schwab One Interest feature, interest accrues daily from
Tthe second-to-last business day of the prior month and is posted on the second-to-last business day of the
Gpurrent month. For the Bank Sweep and Bank Sweep for Benefit Plans features, interest accrues daily from
the 16th day of the prior month and is credited/posted on the first business day after the 15th of the current
month. If, on any given day, the interest that Schwab caiculates for the Free Credit Balances in the Schwab
One Interest feature in your brokerage Account is less than $.005, you will not accrue any interest on that
yt lay. For balances held at banks affiliated with Schwab in the Bank Sweep and Bank Sweep for Benefit
fans features, interest will accrue even if the amount is less than $.005. Margin Account Customers:
(Arhis is a combined statement of your margin account and special memorandum account maintained for you
under Section 220.5 of Regulation T issued by the Board of Governors of the Federal Reserve System. The
Chermanent record of the separate account as required by Regulation T is available for your inspection.
Securities purchased on margin are Schwab's collateral for the loan to you. It is important that you fully
understand the risks involved in trading securities on margin. These risks include: 1) You can lose more
funds than you deposit in the margin account; 2) Schwab can force the sale of securities or other assets in
any of your account(s) to maintain the required account equity without contacting you; 3) You are not entitled
to choose which assets are liquidated nor are you entitled to an extension of time on a margin call; 4)
Schwab can increase its "house” maintenance margin requirements at any time without advance written
notice to you. Market Price: The most recent price evaluation available to Schwab on the last business day

Account Nickname
Old TD account

Statement Period
September 1-30, 2024

of the report period, normally the last irade price or bid as of market close. Unpriced securities denote that
no market evaluation update is currently available. Price evaluations are obtained from outside parties.
Schwab shall have no responsibility for the accuracy or timeliness of any such valuations. Assets Not Held
at Schwab are not held in your Account or covered by the Account's SIPC account protection and are not
otherwise in Schwab's custody and are being provided as a courtesy to you. Information on Assets Not Held
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Schwab. Schwab can neither validate nor certify the existence of Assets Not Held at Schwab or the
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Some securities, especially thinly traded equities in the OTC market or foreign markets, may not report the
most current price and are indicated as Stale Priced. Certain Limited Partnerships (direct participation
programs) and unlisted Real Estate Investment Trust (REIT) securities, for which you may see a value on
your monthly Account statement that reflecis the issuer's appraised estimated value, are not listed on a
national securities exchange, and are generally illiquid. Even if you are able to sell such securities, the price
received may be less than the per share appraised estimated value provided in the account statement.
Market Value: The Market Value is computed by multiplying the Market Price by the Quantity of Shares.
This is the dollar value of your present holdings in your specified Schwab Account or a summary of the
Market Value summed over multiple accounts. Non-Publicly Traded Securities: All assets shown on this
statement, other than certain direct investments which may be held by a third party, are held in your Account.
Values of certain Non-Publicly Traded Securities may be furnished by a third party as provided by Schwab's
Account Agreement. Schwab shall have no responsibility for the accuracy or timeliness of such valuations.
The Securities Investor Protection Corporation (SIPC) does not cover many limited partnership interests.
Schwab Sweep Money Funds: Includes the primary money market funds into which Free Credit Balances
may be automatically invested pursuant to your Account Agreement. Schwab or an affiliate acts and receives
compensation as the Investment Advisor, Shareholder Service Agent and Distributor for the Schwab Sweep
Money Funds. The amount of such compensation is disclosed in the prospectus. The yield information for
Schwab Sweep Money Funds is the current 7-day yield as of the statement period. Yields vary. If on any
given day, the accrued daily dividend for your selected sweep money fund as calculated for your account is
less than % of 1 cent ($0.005), your account will not earn a dividend for that day. In addition, if you do not
accrue at least 1 daily dividend of $0.01 during a pay period, you will not receive a money market dividend for
that period. Schwab and the Schwab Sweep Money Funds investment advisor may be voluntarily reducing a
portion of a Schwab Sweep Money Fund's expenses. Without these reductions, yields would have been
lower. Securities Products and Services: Securities products and services are offered by Charles
Schwab & Co., Inc., Member SIPC. Securities products and services, including unswept intraday
funds and net credit balances held in brokerage accounts are not deposits or other obligations of,
or guaranteed by, any bank, are not FDIC insured, and are subject to investment risk and may lose
value. SIPC does not cover balances held at Program Banks in the Bank Sweep and Bank Sweep
for Benefit Plans features. Please see your Cash Feature Disclosure Statement for more information on
insurance coverage. Yield to Maturity: This is the actual average annual return on a note if held to maturity.
IN CASE OF ERRORS OR DISCREPANCIES: If you find an error or discrepancy relating to your
brokerage activity (other than an electronic fund transfer) you must notify us prompily, but no
later than 10 days after this statement is sent or made available to you. If this statement shows that
we have mailed or delivered security certificate(s) that you have not received, notify Schwab
immediately. You may call us at 800-435-4000. (Outside the U.S., call +1-415-667-8400.) If you're a
client of an independent investment advisor, call us at 800-515-2157. Any oral communications
should be re-confirmed in writing to further protect your rights, including rights under the
Securities Investor Protection Act (SIPA). If you do not so notify us, you agree that the staternent
activity and Account balance are correct for all purposes with respect to those brokerage

5 of 6
Schwab One® Account of

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MICHAEL EDWARD SATTERFIELD

Terms and Conditions (continued)

‘Gtransactions. IN CASE OF COMPLAINTS: If you have a complaint regarding your Schwab statement,
ooproducts or services, please write to Client Service & Support at Charles Schwab & Co., Inc., P.O. Box
982603 El Paso, TX 79998-2603, or call customer service at 800-435-4000. (Outside the U.S., call
©+1-415-667-8400.) If you're a client of an independent investment advisor, call us at 800-515-2157.
[Address Changes: If you fail to notify Schwab in writing of any change of address or phone number, you
Omay not receive important notifications about your Account, and trading or other restrictions might be placed

on your Account. Additional information: We are required by law to report to the internal Revenue Service
cadjusted cost basis information (if applicable), certain payments to you and credits to your Account during

Case 24-50792-hlb Doc 61 Entered 10/18/24 15:34:1

Account Nickname
Old TD account

Statement Period
September 1-30, 2024

the calendar year. Retain this statement for income tax purposes. A financial statement for your inspection is
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Transaction History for Old TD account ...093

Transactions found from 09/29/2020 to 09/29/2024

Date ,

Action

Symbol / Description Quantity

Price

Page 19 of 78

Fees & Comm

Amount

01/29/2024

11/06/2023

11/06/2023

09/12/2023

09/12/2023

03/15/2022

03/15/2022

https://client.schwab.com/app/accounts/history/#/

Reverse
Split

Journaled
Shares

Internal
Transfer

Buy

Buy

Buy

Sell

MMAT 3
META MATLS
INC

TDA TRAN -
TRANSFER OF
SECURITY OR
OPTION OUT

(MMAT)

MMAT -255

MMAT 255

META MATLS
INC

MMAT 100

TDA TRAN -
Bought 100
(MMAT)
@0.2177

TDA TRAN -
Sold 100
(MMAT)
@0.2133

MMAT 30

TDA TRAN -
Bought 30
(MMAT)

@1.6850.

MMAT 100

TDA TRAN -
Bought 100

MMAT 100

$0.2133

$0.2177

$1.685

$1.685

$0.01

-$21.77

$21.32

-$50.55

-$168.50

1/2

9/29/24, 6:00 PM

Date , Action Symbol / Description Quantity

Case 24-50792-hlb Doc 61 EPs Reb hanes Stas Page 20 of 78

Fees & Comm Amount

(MMAT)
@1.6850
MMAT

TDA TRAN -
Sold 100

(MMAT)
@1.6801

03/15/2022 = Sell

06/28/2021  Journaled
Shares TDA TRAN -
MANDATORY
REVERSE

SPLIT (MMAT)

100 $1.6801

MMAT 225

$0.01

$168.00

Intra-day transactions are subject to change.

Page Total: -$51.50

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted

to your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on

the Balances page.

(1123-3U5Y, 0924-CLCV)

Brokerage Products: Not FDIC Insured * No Bank Guarantee ¢ May
Lose Value

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investment services and products. Its banking subsidiary, Charles Schwab Bank,
SSB (member FDIC and an Equal Housing Lender), provides deposit and lending
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Account: ...093
Today's Date: 05:57 PM ET,
09/29/2024

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Transaction History for Old TD account ...093

Transactions found from 09/29/2020 to 09/29/2024

Date Action Symbol / Description Quantity Price Fees & Comm Amount

06/28/2021 Journaled TRCH -450
Shares TDA TRAN -
MANDATORY
REVERSE
SPLIT (TRCH)

04/12/2021 Buy TRCH 250 = $1.7778 -$444.45
TDA TRAN -
Bought 250
(TRCH)
@1.7778

02/17/2021 Buy TRCH 200 $3.65 -$730.00
TDA TRAN -
Bought 200
(TRCH)
@3.6500

Page Total: -$1,174.45

Intra-day transactions are subject to change.

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted
to your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on
the Balances page.

(1123-3U5Y, 08924-CLCV)

Brokerage Products: Not FDIC Insured » No Bank Guarantee + May Account: ...093
Lose Value Today's Date: 05:57 PM ET,
09/29/2024

The Charles Schwab Corporation provides a full range of brokerage, banking and
financial advisory services through its operating subsidiaries. lts broker-dealer
subsidiary, Charles Schwab & Co. inc. (Member SIPC), and its affiliates offer
investment services and products. Its banking subsidiary, Charles Schwab Bank,
SSB (member FDIC and an Equal Housing Lender), provides deposit and lending
services and products. This site is designed for U.S. residents. Non-U.S. residents
are subject to country-specific restrictions. Learn more about our services for non-
US Residents , Charles Schwab Hong Kong clients , Charles Schwab UK clients.

https://client.schwab.com/app/accounts/history/#/ 1/2

9/29/24, 5:59 PM Case 24-50792-hlb Doc61 Entered tQuRictahesstwae Page 22 of 78

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https://client.schwab.com/app/accounts/history/#/

2/2
Rollover IRA of

MICHAEL EDWARD SATTERFIELD .
CHARLES SCHWAB & CO INC CUST Account Number Statement Period
IRA ROLLOVER QaB-0844 September 1-30, 2024

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For the most current records on your account Qa g n Withdrawals 0.00 0.00
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a BOW Qo w . nding Value _ $5,990. AL
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(é] . i ua=S < Account Ending Value reflects the market value of your cash and investments. It does nat include pending
Visit us online at schwab.com = © 2 Oo transactions, unpriced securities or assets held outside Schwab's custody.
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Visit schwab.com/stmt to explore the features O = t g i 5
and benefits of this statement. S2otre¢nr

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1of8
Rollover IRA of

MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
IRA ROLLOVER

Statement Period
September 1-30, 2024

0 :
Asset Allocation Income Summary
S Current 1
st This Period Allocation
N 0.8
wo Gi MB Cash and Cash Investments 488.94 8%
D é
& = Equities 5,413.12 91% 0.6 é
: Other Assets 28.05 <1% 04 3S
y ‘Total $5,930.11 © 100% 4 0.18 0.2
to - i 0
a Jan Feb Mar Apr May dun Jul Aug Sep Oct Nov Dec
st
St op Account Holdings This Period This Period YTD
<symMBoL Market % of Bank Sweep Interest 0.19
cusip Description Value Accounts SE eg cee
920. 2% Olal Income. ee ($0.19 |

GVZLA VIZSLA SILVER CORP) F 1,920.00 3 ole
—
SAZZTF AZTEC MINERALS CORP F 1,048.80 18%
LUVIMATQ META MATLS INC 735.56 12% Retirement Details
RVR IRVING RES INC F 500.00 8% Contributions 2023 2024
S CHARLES SCHWAB BANK 488.94 8% : Total YTD ($ - : e oe 0.00. 0.00
2 Gain or (Loss) Summary
“I All Positions
R Gai ui
3 ain (Loss) Net

J
= This Period 0.00 (2.86) (2.86)!
N
@ YTD - (2.86) (2.86)
(S Unrealized _ So ($432,875.82) :

Values may not reflect all of your gains/osses; Schwab has provided accurate gain and loss information

wherever possible for most investments. Cost basis may be incomplete or unavailable for some of your
holdings and may change or be adjusted in certain cases. Please login to your account at Schwab.com for
real-time gain/loss information. Statement information should not be used for tax preparation, instead refer
to official tax documents. For additional information refer to Terms and Conditions.

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a eehiaied CHARLES SCHWAB & CO INC CUST
IRA ROLLOVER

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'A Message About Your Account

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ioStatement of Financial Condition

“The most recent statement of financial condition for Charles Schwab & Co.,

Statement Period

September 1-30, 2024

Inc. (CS&Co) may be obtained at no cost at hitp:/Avww.schwab.com/egal/financials or by calling

4-800-435-4000. For clients of independent investment advisors, contact Schwab Alliance at 1-800-647-5465. International clients, call +1-415-667-7870 and Charles Schwab Hong Kong

Sclients, call +852-2101-0500. At June 30, and July 31, 2024, CS&Co had net capital of $8.8 billion and $9.0 billion, respectively, and a net capital requirement of $1.7 billion and $1.8

billion, respectively. A copy of the report may be requested via: Investor Relations, 211 Main Street, San Francisco, CA 94105. Independent investment advisors are not owned by,

Maffiliated with, or supervised by CS&Co.

“Positions - Sey

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st "Beginning Value. ae “Transfer of oe Diadends ae 3 Changsha ie ee “Ending Value Sots eee. Unrealized:

Q- 8 asiof 09/01. +. “SeourtistinvOut) Reinvested a Cash pee + Market Value a Ee. as of 09/30 = Cost Basis _ Gain/(Loss)

Ss $6, 046. 31 $0. 00 $0. 00 $0. 19 6 1 6. 39) - $5, 930. 11 = ‘$438,288.44 i - ($432, 875. 32)! i

a : | flea

Oo Values may not reflect all of your 1 gains/losses: ‘Schwab has provided : accurate gain and loss information wherever possible for most investments. Cost basis may be incomplete or unavailable for some of your holdings

@ and may change or be adjusted in certain cases. Statement information should not be used for tax preparation, instead refer to official tax documents. For additional information refer to Terms and Conditions.

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iUWCash and Cash Investments

Beginning Ending Change in Period Pending/Unsettied Interest/ % of

taType Symbol Description Quantity Price($) Balance($) Balance($) Balance($) Cash($) ‘Yield Rate Acct

©Bank Sweep CHARLES SCHWAB 488.05 488.94 0.89 0.20% 8%

Oo BANK*2

a ) Total Cash and Cash Investments _ it $488.05 oo $488.94 = . $0.89. 8%

N

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NM

Positions - Equities

st . Unrealized Est. Annual % of

Symbol Description Quantity Price($) Market Value($) Cost Basis($) Gain/(Loss)($) Est. Yield Income($) Acct

CAZZTF AZTEC MINERALS CORP F 8,000.0000 0.13110 1, 048. 80 2,080.00 (1,031.20) N/A 0.00 18%

OIRVRF IRVING RES INC F 2, 000. 0000 0.25000 500. 00 5,800.00 (5,300.00) N/A 0.00 8%
LOMLF LION ONE METALS LTD F 1, 000. 0000 0.25879 258.79 1,810.00 (1,551.21) N/A 0.00 4%
MCDMF MACDONALD MINES EXPL L F 9, 000. 0000 0.02600 234.00 5,900.00 (5,666.00) N/A 0. 09 4%
MMATQ META MATLS INC 1 988. 0000 0.37000 735.56 396, 856. 18 _ 696, 120. 62) N/A 0.00 12%
NSRPF NOVO RES CORP F 6, 700. 0000 0.07024 470.61 13,176. 00 (12, 705. 39) N/A 0.00 8%
Rollover IRA of

MICHAEL EDWARD SATTERFIELD

CHARLES SCHWAB & CO INC CUST ! Statement Period

IRA ROLLOVER September 1-30, 2024
oPositions - Equities (continued)

Unrealized Est. Annual % of

‘Symbol Description Quantity Price(s) Market Value($) Cost Basis($) Gain/(Loss)($) Est. Yield income($) ‘Acct
iRGOF PINNACLE SILVER & GOLD F 8, 583. o000 0. 02000 171.66 8,010.15 @, 838. 49) N/A 0.00 8%
SyCUFF VIZSLA COPPER CORP F 476, 0000 0. 05915 28.16 3, 939.35 &, 911. 19) N/A 0. 00 <1%
OyROYF VIZSLA ROYALTIES CORP Fo 33. 0000 1. 38000 45.54 356. 76 (311. 22) N/A "0.00 et %
oVZLA VIZSLA SILVER CORP F 4,000.0000 1.92000 1,920.00 360, 00 7,560.00 N/A 0.00 32%
“Total Equities aes a ES Eo $5,413.12 $438,288.44 ($432,875.32) «ss ——=s«$0.00 1%
a
4 aye
Positions - Other Assets
~~ Unrealized Est. Annual % of
OS ymbol Description Quantity Price($) Market Value($) Cost Basis($) GainK(Loss)($) Est. Yield Income($) Acct
QyRYWE VIZSLA ROYALTIES 24 WTF 33.0000 0.85000 28.05 N/A | N/A i N/A N/A <1%
Oo WARRANTS EXERCISE
© EXP: 12/20/24
Total Other Assets — eee Go Gee oe oe 06 $000 = $0.00 ————Ss«éS00 <I

Estimated Annual Income ("EAI") and Estimated Yield ("EY") calculations are for informational purposes only. The actual income and yield might be lower or higher than the estimated amounts. EY is based upon EAI and
he current price of the security and will fluctuate. For certain types of securities, the calculations could include a return of principal or capital gains in which case EAI and EY would be overstated. EY and EAI are not
c@rompily updated to reflect when an issuer has missed a reguiar payrnent or announced changes to future payments, in which case EAI and EY will continue to display at a prior rate.

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qT ransactions - Summary

Bearing Cas as of 09/01 ee _ Deposits = + =~ Withdrawals + a =o + Sales esemtions “+ Dividendsfinterest. t= Expenses = | Ending Cash" as of 09/30
a _ 288.0 05 = S 80. 00 $0.00. . 07 70 $019... ~~ $0.00 ee 94
< Other Activity $0.0 00° Other activity includes transactions which don't affect the cash balance such as stock transfers, splits, etc.
MN :
oa ash (includes any cash debit balance) held in your account plus the value of any cash invested in a sweep money fund.
oO
O
Transaction Details
Symbaol/ Price/Rate Charges/ Realized
Date Category Action CUSIP Description Quantity per Share($) Interest($) Amount($) Gain/{Loss)($)
09/11 Other Reverse Split VIZSLA ROYALTIES 25 WTF 33.0000
Activity WARRANTS EXP 12/31/25

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Rollover IRA of

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i MICHAEL EDWARD SATTERFIELD
ee bitiae CHARLES SCHWAB & CO INC CUST
IRA ROLLOVER

oo! ransaction Details (continued)
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Statement Period
September 1-30, 2024

_ Symbol/ Price/Rate Charges/ Realized
CDaie Category — Action CUSIP Description Quant tty per Share($) Interest($) Amouni($) Gain/(Loss}($)
Ke - svn vee cope ng ce en nin
09/11 Other. oo Reverse Split VIZSLA ROYALTIES 25 XXX ~ (333. 0000)
ob : Activity.” a REVERSE SPLIT
Aden2 Redemption Cash-In-Lieu VIZSLA ROYALTIES 25 WTF 0.25
TSS, WARRANTS EXP 12/81/25
“poi3 Redemption Cash-I|n-Lieu VRYWE VIZSLA ROYALTIES 25 WTF 0.03
+ wee WARRANTS EXP 12/31/25 |
is Redemption Cash-In-Lieu VROYF VIZSLA ROYALTIES CORP F CLASS: 0.38
: cee EQUITY
nN Redemption Cash-In-Lieu VROYF VIZSLA ROYALTIES CORP F CLASS 0.04
00 S " EQUITY
pee Interest "Bank Interest *2 BANK INT 081624-091524 0.19
Z Total’ Transactions ee ee = = $0.89 $0.00:
ae column represents the Settlement/Process date for each transaction.
“Bank Sweep Activity
Date Description Date Description Amount
SOoI01 Beginning Balance *?_ 09/16 BANK CREDIF FROM BROKERAGE * 0.45

Q:
PIs BANK CREDIT FROM BROKERAGE *

Ter BANK INTEREST - CHARLES SCHWAB BANK *2 ' 0.19

oy

S Your interest period was 08/16/24 - 09/15/24. %

~Endnotes For Your Account

i Value includes incomplete, missing or cost basis that is not tracked due to the security type. If
cost basis is not available for an investment, you may be able to provide updates. For questions,
please refer to the contact information on the first page of this statement.

Case

X Bank Sweep deposits are held at FDIC-insured Program Banks, which are listed in the Cash
Features Disclosure Statement.

Terms and Conditions
GENERAL INFORMATION AND KEY TERMS: This Account statement is furnished solely by Charles

09/30 | Ending Balance Xz.

00/30 Interest Rate “7

Z For the Bank Sweep and Bank Sweep for Benefit Plans features, interest is paid for a period
that differs from the Statement Period. Balances include interest paid as indicated on your
statement by Schwab or one or more of its Program Banks. These balances do not include
interest that may have accrued during the Statement Period after interest is paid. The interest
paid may include interest that accrued in the prior Statement Period.

Schwab & Co., Inc. ("Schwab") for your Account at Schwab ("Account"). Unless otherwise defined herein,

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Rollover IRA of

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MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
IRA ROLLOVER

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Terms and Conditions (continued)

‘Ceapitalized terms have the same meanings as in your Account Agreement. If you receive any other
cceommunication from any source other than Schwab which purports to represent your holdings at Schwab
WNincluding balances held. at a Depository Institution) you should verify its content with this statement.
dAccrued Income: Accrued Income is the sum of the total accrued interest and/or accrued dividends on
osttions held in your Account, but the interest and/or dividends have not been received into your Account.
Qschwab makes no representation that the amounts shown (or any other amount) will be received. Accrued
amounts are not covered by SIPC account protection until actually received and held in the Account. AIP
Automatic Investment Plan) Customers: Schwab receives remuneration in connection with certain
ransactions effected through Schwab. If you participate in a systematic investment program through
<fchwab, the additional information normally detailed on a trade confirmation will be provided upon request.
Average Daily Balance: Average daily composite of all cash balances that earn interest and all ioans from
LeSchwab that are charged interest. Bank Sweep and Bank Sweep for Benefit Plans Features: Schwab
“Acts as your agent and custodian in establishing and maintaining your Deposit Account(s) as a feature of
your brokerage Account(s). Deposit accounts held through these bank sweep features constitute direct
obligations of one or more FDIC insured banks ("Program Banks") that are not obligations of Schwab.
Funds swept to Program Banks are eligible for deposit insurance from the FDIC up to the applicable limits
cor each bank for funds held in the same insurable capacity. The balance in the Deposit Accounts can be
—withdrawn on your order and the proceeds returned to your brokerage Account or remitted to you as provided
—cin your Account Agreement. For information on FDIC insurance and its limits, as well as other important
Gaisclosures about the bank sweep feature(s) in your Account(s), please refer to the Cash Features
dDisclosure Statement available online or from a Schwab representative. Cash: Any Free Credit Balance
‘cowed by us to you payable upon demand which, although accounted for on our books of record, is not
LlSegregated and may be used in the conduct of this firm's business. Dividend Reinvestment Customers:
Dividend reinvestment transactions were effected by Schwab acting as a principal for its own account,
except for the reinvestment of Schwab dividends, for which an independent broker-dealer acted as the
“Quying agent. Further information on these transactions will be furnished upon written request. Gain (or
ass): Unrealized Gain or (Loss) and Realized Gain or (Loss) sections ("Gain/Loss Section(s)") contain a
San or a joss summary of your Account. This information has been provided on this statement: at the
request of your Advisor, if applicable. This information is not a solicitation or a recommendation to buy or
sell. Schwab does not provide tax advice and encourages you to consult with your tax
rofessionai. Please view the Cost Basis Disclosure Statement for additional information on how
gain (or loss) is calculated and how Schwab reports adjusted cost basis information to the IRS.
terest: For the Schwab One Interest, Bank Sweep, and Bank Sweep for Benefit Plans features, interest is
paid for a period that may differ fram the Statement Period. Balances include interest paid as indicated on
mor statement by Schwab or one or more of its Program Banks. These balances do not include interest that
ay have accrued during the Statement Period after interest is paid. The interest paid may include interest
at accrued in the prior Statement Period. For the Schwab One Interest feature, interest accrues daily from
 second-to-last business day of the prior month and is posted on the second-to-last business day, of the
urrent month. For the Bank Sweep and Bank Sweep for Benefit Plans features, interest accrues daily from
ee 16th day of the prior month and is credited/posted on the first business day after the 15th of the current
nth. If, on any given day, the interest that Schwab calculates for the Free Credit Balances in the Schwab
One Interest feature in your brokerage Account is less than $.005, you will not accrue any interest on that
day. For balances held at banks affiliated with Schwab in the Bank Sweep and Bank Sweep for Benefit
Plans features, interest will accrue even if the amount is less than $.005. Margin Account Customers:
This is a combined statement of your margin account and special memorandum account maintained for you
under Section 220.5 of Regulation T issued by the Board of Governors of the Federal Reserve System. The
permanent record of the separate account as required by Regulation T is available for your inspection.
Securities purchased on margin are Schwab's collateral for the ioan to you. It is important that you fully

Statement Period
September 1-30, 2024

understand the risks involved in trading securities on margin. These risks include: 1) You can lose more
funds than you deposit in the margin account; 2) Schwab can force the sale of securities or other assets in
any of your account(s} to maintain the required account equity without contacting you; 3) You are not entitled
to choose which assets are liquidated nor are you entitled to an extension of time on a margin call; 4)
Schwab can increase its "house" maintenance margin requirements at any time without advance written
notice to you. Market Price: The most recent price evaluation available to Schwab on the Jast business day
of the report period, normally the last trade price or bid as of market close. Unpriced securities denote that
no market evaluation updaie is currently available. Price evaluations are obtained from outside parties.
Schwab shall have no responsibility for the accuracy or timeliness of any such valuations. Assets Not Held
at Schwab are not held in your Account or covered by the Account's SIPC account protection and are not
otherwise in Schwab's custody and are being provided as a courtesy to you. Information on Assets Not Held
at Schwab, including but not limited to valuations, is reported solely based on information you provide to
Schwab. Schwab can neither validate nor certify the existence of Assets Not Held at Schwab or the
accuracy, completeness or timeliness of the information about Assets Not Held at Schwab, whether
provided by you or otherwise. Descriptions of Assets Not Held at Schwab may be abbreviated or truncated.
Some securities, especially thinly traded equities in the OTC market or foreign markets, may not report the
most current price and are indicated as Stale Priced. Certain Limited Partnerships (direct participation
programs) and unlisted Real Estate Investment Trust (REIT) securities, for which you may see a value on
your monthly Account statement that reflects the issuer's appraised estimated value, are not listed on a
national securities exchange, and are generally illiquid. Even if you are able to sell such securities, the price
received may be less than the per share appraised estimated value provided in the account statement.
Market Value: The Market Value is computed by multiplying the Market Price by the Quantity of Shares.
This is the dollar value of your present holdings in your specified Schwab Account or a summary of the
Market Value summed over multiple accounts. Non-Publicly Traded Securities: All assets shown on this
statement, other than certain direct investments which may be held by a third party, are held in your Account.
Values of certain Non-Publicly Traded Securities may be furnished by a third party as provided by Schwab's
Account Agreement. Schwab shall have no responsibility for the accuracy or timeliness of such valuations.
The Securities Investor Protection Corporation (SIPC) does not cover many limited partnership interests.
Schwab Sweep Money Funds: includes the primary money market funds into which Free Credit Balances
may be automatically invested pursuant to your Account Agreement. Schwab or an affiliate acts and receives
compensation as the Investment Advisor, Shareholder Service Agent and Distributor for the Schwab Sweep
Money Funds. The amount of such compensation is disclosed in the prospectus. The yield information for
Schwab Sweep Money Funds is the current 7-day yield as of the statement period. Yields vary. If on any
given day, the accrued daily dividend for your selected sweep money fund as calculated for your account is
less than ¥% of 1 cent ($0.005), your account will not earn a dividend for that day. In addition, if you do not
accrue at least 1 daily dividend of $0.01 during a pay period, you will not receive a money market dividend for
that period. Schwab and the Schwab Sweep Money Funds investment advisor may be voluntarily reducing a
portion of a Schwab Sweep Money Fund's expenses. Without these reductions, yields would have been
lower. Securities Products and Services: Securities products and services are offered by Charles
Schwab & Co., Inc., Member SIPC. Securities products and services, including unswept intraday
funds and net credit balances held in brokerage accounts are not deposits or other obligations of,
or guaranteed by, any bank, are not FDIC insured, and are subject to investment risk and may lose
value. SIPC does not cover balances held at Program Banks in the Bank Sweep and Bank Sweep
for Benefit Plans features. Please see your Cash Feature Disclosure Statement for more information on
insurance coverage. Yield to Maturity: This is the actual average annual return on a note if held to maturity.
IN CASE OF ERRORS OR DISCREPANCIES: If you find an error or discrepancy relating to your
brokerage activity (other than an electronic fund transfer) you must notify us promptly, but no
later than 10 days after this statement is sent or made available to you. If this statement shows that

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MICHAEL EDWARD SATTERFIELD
CHARLES SCHWAB & CO INC CUST
IRA ROLLOVER

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°Terms and Conditions (continued)

“‘cwe have mailed or delivered security certificate(s) that you have noi received, notify Schwab
oimmediately. You may call us at 800-435-4000. (Outside the U.S., call +1-415-667-8400.) If you're a
Qtlient of an independent investment advisor, call us at 800-515-2157. Any oral communications
dshould be re-confirmed in writing to further protect your rights, including rights under the
‘Securities Investor Protection Act (SIPA). If you do not so notify us, you agree that the statement
nactivity and Account balance are correct for all purposes with respect to those brokerage
transactions. IN CASE OF COMPLAINTS: If you have a complaint regarding your Schwab statement,
roducts or services, please write to Client Service & Support at Charles Schwab & Co., inc., P.O. Box
82603 El Paso, TX 79998-2603, or call customer service at 800-435-4000. (Outside the U.S., call
<f1-415-667-8400.) If you're a client of an independent investment advisor, call us at 800-515-2157.
Address Changes: If you fail to notify Schwab in writing of any change of address or phone number, you

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Statement Period
September 1-30, 2024

may not receive important notifications about your Account, and trading or other restrictions might be placed
on your Account. Additional Information: We are required by law to report to the Internal Revenue Service
adjusted cost basis information (if applicable), certain payments to you and credits to your Account during
the calendar year. Retain this statement for income tax purposes. A financial staternent for your inspection is
available at Schwab's offices or a copy will be mailed to you upon written request. Any third-party trademarks
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Transaction History for Rollover IRA ...844

Transactions found from 09/29/2020 to 09/29/2024

Date ,

Case 24-50792-hlb Doc61 Entered AQ Rictatsestwas Page 31 of 78

Action

Symbol / Description Quantity

Price

Fees & Comm

Amount

01/29/2024

11/22/2022

Reverse
Split

Buy

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022

Buy

11/22/2022

Buy
Buy
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-$8,019.40

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-$3,232.00

-$404.00

-$5,050.00

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-$2,020.00

-$161.60

1/5

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Date ,

Case 24-50792-hlb Doc61 Entered AQUA etatesstwus Page 32 of 78

Action

Symbol / Description

Quantity

Price

Fees & Comm

Amount

11/22/2022

11/22/2022

11/22/2022

11/22/2022

11/22/2022
11/22/2022

11/22/2022

Buy
Buy
Buy

Buy

META MATLS
INC

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600

1,400

1,000

250

Buy
Buy

Buy

MMAT
META MATLS
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Buy
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-$505.00

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-$6,060.00

-$1,414.00

-$202.00

-$2,222.00

-$403.00

-$604.50

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Date ,

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Action

Symbol / Description

Quantity

Price

Fees & Comm

Amount

11/22/2022

11/22/2022

11/22/2022

11/22/2022

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Case 24-50792-hlb Doc61 Eptered hQiLe/atares Stuns Page 34 of 78

Action

Symbol / Description

Quantity

Price

Fees & Comm

Amount

11/22/2022

11/22/2022

11/22/2022

11/22/2022

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11/22/2022

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-$8.08

-$785.78

-$13,795.32

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9/29/24, 6:08 PM Case 24-50792-hlb Doc61 Enferegh GLa etatesstwae Page 35 of 78

Date Action Symbol / Description Quantity Price Fees & Comm Amount
12/03/2021 Buy MMAT 200 $3.19 -$638.00
META MATLS
INC
11/30/2021 Buy MMAT 450 $3.4999 -$1,574.96
META MATLS
INC
11/26/2021 Buy MMAT 1,000 $3.826 -$3,826.00
META MATLS
INC
06/29/2021 Reverse MMAT 14,750
Split META MATLS
INC

intra-day transactions are subject to change.

Page Total: -$379,346.28

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted to

your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on the

Balances page.

(1123-3U5Y, 0924-CLCV)

Brokerage Products: Not FDIC Insured » No Bank Guarantee * May Lose
Value

The Charles Schwab Corporation provides a full range of brokerage, banking and
financial advisory services through its operating subsidiaries. Its broker-dealer
subsidiary, Charles Schwab & Co. Inc. (Member SIPC), and its affiliates offer
investment services and products. Its banking subsidiary, Charles Schwab Bank,
SSB (member FDIC and an Equal Housing Lender), provides deposit and lending
services and products. This site is designed for U.S. residents. Non-U.S. residents
are subject to country-specific restrictions. Learn more about our services for non-
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access is prohibited. Usage will be monitored.

https://client.schwab.com/app/accounts/history/#/

Account: ...844
Today's Date: 05:57 PM ET,
09/29/2024

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9/29/24, 6:07 PM

Case 24-50792-hlb Doc61 Entered Lda etatesstwus Page 36 of 78

Transaction History for Rollover IRA ...844

Transactions found from 09/29/2020 to 09/29/2024

Date y

Action

Symbol / Description

Quantity

Price

Fees & Comm

Amount

06/10/2021

ee

01/28/2021

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ENERGY RE

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$2.9666

$2.9666

$1.42

ENERGY RE

https://client.schwab.com/app/accounts/history/#/

-$302.59

-$593.32

-$593.32

-$593.32

-$261.06

-$1,779.96

-$29.67

-$296.66

-$1,988.00

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Case 24-50792-hlb Doc61 Eptered LOG etaters4aks Page 37 of 78

Date y Action Symbol / Description Quantity Fees & Comm Amount
01/28/2021 Buy TRCH 100 $1.42 -$142.00
TORCHLIGHT
ENERGY RE
01/28/2021 Buy TRCH 1,500 $1.45 -$2,175.00

TORCHLIGHT
ENERGY RE

Intra-day transactions are subject to change.

Page Total: -$8,754.90

Brokerage Account Balances are from the previous market close, but also may include new activity that will be

posted to your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found

on the Balances page.

(1123-3U5Y, 0924-CLCV)

Brokerage Products: Not FDIC Insured * No Bank Guarantee « May
Lose Value

The Charles Schwab Corporation provides a full range of brokerage, banking
and financial advisory services through its operating subsidiaries. Its broker-
dealer subsidiary, Charles Schwab & Co. Inc. (Member SIPC), and its affiliates
offer investment services and products. Its banking subsidiary, Charles Schwab
Bank, SSB (member FDIC and an Equal Housing Lender), provides deposit and
lending services and products. This site is designed for U.S. residents. Non-
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https://client.schwab.com/app/accounts/history/#/

Account: ...844
Today's Date: 05:57 PM ET,
09/29/2024

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AS Ols A's: 053 Account Number Statement Period

MICHAEL EDWARD SATTERFIELD
DESIGNATED BENE PLAN/TOD 1318 September 1-30, 2024

£0 Account Summary
So
oO - Ending Account Value aso 09/80 Se: _ Beginning Account Value as of o9/01 ®
o Ss ee
» $5,197.31 Se = 8597.08
D Ses
8 =: :

$23.0K
o
o $19.1K
st
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8 $15.2K
t
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09 $11.3K
aD i
So
Oo NN $7.4K
3 NT
a
=e : $3.5K

Oct'23. Nov Dec Jan'24 Feb Mar Apr May Jun Jul Aug Sep

LManage Your Account

This Statement YTD
~—Customer Service and Trading:
ca your Schwab Representative Beginning Value $5,197.58 $10,177.59
-800-435-4000 A .
Gear Customer Service N Deposits 0.00 0.00
For the most current records on your account Q au Withdrawals 0.00 (2,800.00)
cyisit schwab.com/login. Statements are la wo .
“archived up to 10 years online. i oO 9 Dividends and Interest 1.50 17.52
. 5
- Ws Transfer of Securities 0.00 0.00
tommitment to Transparency E < 4
ok oo LL Market Appreciation/(Depreciation) (1.77) (2,197.80)
‘Client Relationship Summaries and Best Interest ow Ww
<idisclosures are at schwab.com/transparency. ec a eo Expenses 0.00 0.00
Charles Schwab & Co., Inc. Member SIPC. < mo 9
® Sets :
a ago Ww Er ir ng. Value. $5, 197. st $5, 197.31 :
‘Online Assistance Wea 3s
S] vei id $ = s Account Ending Value reflects the market value of your cash and investments. It does not include pending
=J Visit us online at schwab.com + Ono, transactions, unpriced securities or assets held outside Schwab's custody.
= oO,
Visit schwab.com/stmt to explore the features Of o rT 5
and benefits of this statement. 2arctye

09/30-00000-ID2081607-160844 *1 #1
1 of 6
Schwab One® Account of

MICHAEL EDWARD SATTERFIELD Statement Period

DESIGNATED BENE PLAN/TOD September 1-30, 2024
9, i - Income Summ
Asset Allocation come Summary
This Period Allocation :
2.4
aS i Cash and Cash Investments 4,920.29 95%
_ Equities: 277.02 5% —! 1.50 '@
“Total $5,197.31 100% | 2 8
Lo it a it L wwe eee eet O
Jan Feb Mar May = Jun Jul Aug Sep Oct Nov Dec
<fop Account Holdings This Period
Market ob of This Period YTD
SusiP Description Value Accounts Federal Tax Status Tax-Exempt Taxable Tax-Exempt Taxable
4 Cash 4,920.29 95% Schwab One® 0.00 1.50 0.00 17.52
GMMATQ META MATLS INC 429.50 2% interest _. - oe —_
& Q si oe orc ccee ee
<NRGOF PINNACLE SILVER & GOLD F 103.32 2% Total Income. Tg B000 ce STSD 8000 Sir e2.
MCDMF MACDONALD MINES EXPL L F 44.20 <1%
a
oO
oO,
ain or (Loss) Summary
Short-Term (S) Long-Term (7)
2 Gain (Loss) Net Gain (Loss) ‘Net
offs 0.00 0.00 0.00 0.00 0.00 0.00
Srp 0.00 (2,264.28) (2,264.28) 0.00 __ (438. 00) (433.00)
coun realized | (642, 184, 16)
a

rovided accurate gain and loss information wherever possible for most investments. Cost basis may be
incomplete or unavailable for some of your holdings and may change or be adjusted in certain cases.
Please login to your account at Schwab.com for real-time gain/loss information. Staternent information
should not be used for tax preparation, instead refer to official tax documents. For additional information
refer to Terms and Conditions.

roa may not reflect all of your ‘gains/losses z and may be rounded up to the nearest dollar; Schwab has

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Schwab One® Account of

MICHAEL EDWARD SATTERFIELD Statement Period

DESIGNATED BENE PLAN/TOD September 1-30, 2024

co
'“A Message About Your Account

<Statement of Financial Condition

whe most recent statement of financial condition for Charles Schwab & Co., Inc. (CS&Co) may be obtained at no cost at http:/Awww.schwab.com/legal/financials or by calling

oy. -800-435-4000. For clients of independent investment advisors, contact Schwab Alliance at 1-800-647-5465. International clients, call +1-415-667-7870 and Charles Schwab Hong Kong

(tlients, call +852-2101-0500. At June 30, and July 31, 2024, CS&Co had net capital of $8.8 billion and $9.0 billion, respectively, and a net capital requirement of $1.7 billion and $1.8
Osilion, respectively. A copy of the report may be requested via: Investor Relations, 211 Main Street, San Francisco, CA 94105. Independent investment advisors are not owned by,

caifiliated with, or supervised by CS&Co.

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“Positions - Summary

<f Beginning Value. "Transfer of Ba Seeetea ae : . Change in. eo Ending Value foe EE “ oS)» Unrealized
Nasofo901 _ Serontiestivow) Ae a. a “Cash ‘my +. Market Value = as of0980. Cost Basis _ _ Gain/(Loss)
a 1 197. 58 - $0. 00 $0. 00. 8 50 GL. 772) S $541 197. 31 oe $42,461 18 - ($42,184.16)
avi Values may not ¢ reflect all of your ir gainsiosses: Schwab has provided : accurate gain and loss information wherever possible for most investments. Cost basis r may be incomplete or unavallable for some of your holdings
(> and may change or be adjusted in certain cases. Statement information should not be used for tax preparation, instead refer to official tax documents. For additional information refer to Terms and Conditions.

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Lash and Cash Investments -

Beginning Ending Change in Period Pending/Unsettled Interest/ % of
tcl ype Symbol Description Quantity Price($) Balance($) Balance($) Balance($) Cash($}) _— Yield Rate Acct
=Cash 4,918.79 4,920.29 1.50 0.00 95%

Total Cash and Cash Investments $4,918.79 $4,920.29: - 3  ST5O02 0 ae : 95%
<
N
Positions - Equities
i . Unrealized Est. Annual % of
<joymbol Description Quantity Price($) Market Value($) Cost Basis($) Gain/(Loss)($) Est. Yield Income($) Acct
N
qMCDMF MACDONALD MINES EXPL LF 1 , 700.0000 0.02600 44.20 1,190.00 (1,145.80) N/A 0.00 <1%
“mata META MATLS INC “350. 0000 0.37000 129.50 36,710.60 (36,581.10) N/A 0.00 2%
NRGOF PINNACLE SILVER & GOLD F 5,166.0000 0. 02000 103.32 4,560.58 (4,457.26) N/A 0.00 2%

Total Equities: $277.02 $42, 461. 18 642, 184. 16) $0.00

Estimated Annual Income CEAN) and Estimated Yield 1 CEY) calculations are for informational purposes +3 only. 1 The actual income and vield might be lower or higher than the estimated amounts. EY is based upon EAI and
the current price of the security and will fluctuate. For certain types of securities, the calculations could include a return of principal or capital gains in which case EAI and EY would be overstated. EY and EAI are not
promptly updated to reflect when an issuer has missed a regular payment or announced changes to future paymenis, in which case EAI and EY will continue to display at a prior rate.

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MICHAEL EDWARD SATTERFIELD
DESIGNATED BENE PLAN/TOD

oO .
“Transactions - Summary

“St Beginning Cash” as of 09/01. + Deposits. + Withdrawals.

+ Sales/Redemptions + _ Dividends/interest

Statement Period
September 1-30, 2024

Expenses = _ Ending Cash” as of 09/30

> $4,91879 $0.00 $0.00 $0.00. $1.50 $0.00 $4,920.29

oO Other. Activity $0:00 = - - Other activity includes transactions which don’t affect the cash balance such as stock transfers, splits, etc.

<*Cash (includes any cash debit balance) held in your account plus the value of any cash invested in a sweep money fund.

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<+Transaction Details

Q Symbol/ Price/Rate  Charges/ Realized
Date Category Action CUSIP Description Quantity per Share($) —sInterest($) Amount($) Gain(Loss)($)
[9/27 Interest = Credit Interest SCHWAB1 INT 08/29-09/26 1.50

o Total Transactions _ - oo $1.50 $0.00 .

Late column represents the Settlement/Process date for each transaction.

(ps/29 through 09/26: $1.50 based on .381% average Schwab One® interest rate paid on 29 days in which your account had an average daily balance of $4,919.57.

—lerms and Conditions

“GENERAL INFORMATION AND KEY TERMS: This Account statement is fumished solely by Charles
C8chwab & Co., Inc. ("Schwab") for your Account at Schwab ("Account"). Unless otherwise defined herein,
Capitalized terms have the same meanings as in your Account Agreement. If you receive any other
communication from any source other than Schwab which purports to represent your holdings at Schwab
_cdincluding balances held at a Depository Institution) you should verify its content with this statement.
“Accrued Income: Accrued Income is the sum of the total accrued interest and/or accrued dividends on
cpositions held in your Account, but the interest and/or dividends have not been received into your Account.
OSchwab makes no representation that the amounts shown (or any other amount) wili be received. Accrued
amounts are not covered by SIPC account protection until actually received and held in the Account. AIP
if{Automatic Investment Plan) Customers: Schwab receives remuneration in connection with certain
<jiransactions effected through Schwab. If you participate in a systematic investment program through
Schwab, the additional information normally detailed on a trade confirmation will be provided upon request.
dAverage Daily Balance: Average daily composite of all cash balances that earn interest and all loans from
(Schwab that are charged interest. Bank Sweep and Bank Sweep for Benefit Plans Features: Schwab
(pects as your agent and custodian in establishing and maintaining your Deposit Account(s) as a feature of
your brokerage Account(s). Deposit accounts held through these bank sweep features constitute direct
obligations of one or more FDIC insured banks ("Program Banks") that are not obligations of Schwab.
Funds swept to Program Banks are eligible for deposit insurance from the FDIC up to the applicable limits
for each bank for funds held in the same insurable capacity. The balance in the Deposit Accounts can be
withdrawn on your order and the proceeds returned to your brokerage Account or remitted fo you as provided
in your Account Agreement. For information on FDIC insurance and its limits, as well as other important
disclosures about the bank sweep feature(s) in your Account(s), please refer to the Cash Features
Disclosure Statement available online or from a Schwab representative. Cash: Any Free Credit Balance

owed by us to you payable upon demand which, although accounted for on our books of record, is not
segregated and may be used in the conduct of this firm's business. Dividend Reinvestment Customers:
Dividend reinvestment transactions were effected by Schwab acting as a principal for its own account,
except for the reinvestment of Schwab dividends, for which an independent broker-dealer acted as the
buying agent. Further information on these transactions will be furnished upon written request. Gain (or
Loss): Unrealized Gain or (Loss) and Realized Gain or (Loss) sections ("Gain/Loss Section(s}") contain a
gain or a loss summary of your Account. This information has been provided on this statement at the
request of your Advisor, if applicable. This information is not a solicitation or a recommendation to buy or
sell, Schwab does not provide tax advice and encourages you to consult with your tax
professional. Please view the Cost Basis Disclosure Statement for additional information on how
gain (or loss) is calculated and how Schwab reports adjusted cost basis information to the IRS.
Interest: For the Schwab One Interest, Bank Sweep, and Bank Sweep for Benefit Plans features, interest is
paid for a period that may differ from the Statement Period. Balances include interest paid as indicated on
your statement by Schwab or one or more of its Program Banks. These balances do not include interest that
may have accrued during the Statement Period after interest is paid. The interest paid may include interest
that accrued in the prior Statement Period. For the Schwab One Interest feature, interest accrues daily from
the second-to-last business day of the prior month and is posted on the second-to-last business day of the
current month. For the Bank Sweep and Bank Sweep for Benefit Plans features, interest accrues daily from
the 16th day of the prior month and is credited/posted on the first business day after the 15th of the current
month. If, on any given day, the interest that Schwab calculates for the Free Credit Balances in the Schwab
One Interest feature in your brokerage Account is less than $.005, you will not accrue any interest on that
day. For balances held at banks affiliated with Schwab in the Bank Sweep and Bank Sweep for Benefit
Plans features, interest will accrue even if the amount is less than $.005. Margin Account Customers:

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MICHAEL EDWARD SATTERFIELD
DESIGNATED BENE PLAN/TOD

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Terms and Conditions (continued)

‘OThis is a combined statement of your margin account and special memorandum account maintained for you
quunder Section 220.5 of Regulation T issued by the Board of Governors of the Federal Reserve System, The
Stpermanent record of the separate account as required by Regulation T is available for your inspection.
Securities purchased on margin are Schwab's collateral for the loan to you. It is important that you fully
Stinderstand the risks involved in trading securities on margin. These risks include: 1) You can lose more
QLfunds than you deposit in the margin account; 2) Schwab can force the sale of securities or other assets in

any of your account(s) to maintain the required account equity without contacting you; 3) You are not entitled
oo choose which assets are liquidated nor are you entitled to an extension of time on a margin call; 4)
— Schwab can increase its "house" maintenance margin requirements at any time without advance written
<jnotice to you. Market Price: The most recent price evaluation available to Schwab on the last cusiness day
of the report period, normally the last trade price or bid as of market close. Unpriced securities denote that
LOno market evaluation update is currently available. Price evaluations are obtained from outside parties.
“Schwab shall have no responsibility for the accuracy or timeliness of any such valuations. Assets Not Held
wat Schwab are not held in your Account or covered by the Account's SIPC account protection and are not
~~otherwise in Schwab's custody and are being provided as a courtesy to you. Information on Assets Not Held
Cat Schwab, including but not limited to valuations, is reported solely based on information you provide to
eechwab. Schwab can neither validate nor certify the existence of Assets Not Held at Schwab: or the
—accuracy, completeness or timeliness of the information about Assets Not Held at Schwab, whether
~cprovided by you or otherwise. Descriptions of Assets Not Held at Schwab may be abbreviated or truncated.
@Some securities, especially thinly traded equities in the OTC market or foreign markets, may not report the
Gmost current price and are indicated as Stale Priced. Certain Limited Partnerships (direct participation
programs) and unlisted Real Estate Investment Trust (REIT) securities, for which you may see a value on
LLiyour monthly Account statement that reflects the issuer's appraised estimated value, are not listed on a

national securities exchange, and are generally illiquid. Even if you are able to sell such securities, the price
<teceived may be less than the per share appraised estimated value provided in the account statement.
OMarket Value: The Market Value is computed by multiplying the Market Price by the Quantity of Shares.
athis is the dollar value of your present holdings in your specified Schwab Account or a summary of the
QMarket Value summed over multiple accounts. Non-Publicly Traded Securities: All assets shown.on this

statement, other than certain direct investments which may be held by a third party, are held in your Account.

Values of certain Non-Publicly Traded Securities may be furnished by a third party as provided by Schwab's
recount Agreement. Schwab shail have no responsibility for the accuracy or timeliness of such valuations.
“The Securities Investor Protection Corporation (SIPC) does not cover many limited partnership interests.
Schwab Sweep Money Funds: Inciudes the primary money market funds into which Free Credit Balances
may be automatically invested pursuant to your Account Agreement. Schwab or an affiliate acts and receives
Ccompensation as the Investment Advisor, Shareholder Service Agent and Distributor for the Schwab Sweep
Money Funds. The amount of such compensation is disclosed in the prospectus. The yield information for
aiSchwab Sweep Money Funds is the current 7-day yield as of the staternent period. Yields vary. If.on any

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Statement Period
September 1-30, 2024

given day, the accrued daily dividend for your selected sweep money fund as calculated for your account is
less than ¥ of 1 cent ($0.005), your account will not earn a dividend for that day. In addition, if you do not
accrue at least 1 daily dividend of $0.01 during a pay period, you will not receive a money market dividend for
that period. Schwab and the Schwab Sweep Money Funds investment advisor may be voluntarily reducing a
portion of a Schwab Sweep Money Fund's expenses. Without these reductions, yields would have been
lower. Securities Products and Services: Securities products and services are offered by Charles
Schwab & Co., inc., Member SIPC. Securities products and services, including unswept intraday
funds and net credit balances held in brokerage accounts are not deposits or other obligations of,
or guaranteed by, any bank, are not FDIC insured, and are subject to investment risk and may lose
value. SIPC does not cover balances held at Program Banks in the Bank Sweep and Bank Sweep
for Benefit Plans features. Please see your Cash Feature Disclosure Statement for more information on
insurance coverage. Yield to Maturity: This is the actual average annual return on a note if held to maturity.
IN CASE OF ERRORS OR DISCREPANCIES: If you find an error or discrepancy relating to your
brokerage activity (other than an electronic fund transfer) yeu must notify us promptly, but no
later than 10 days after this statement is sent or made available to you. Hf this statement shows that
we have mailed or delivered security certificate(s) that you have not received, notify Schwab
immediately. You may call us at 800-435-4000. (Outside the U.S., call +1-415-667-8400.) If you're a
client of an independent investment advisor, call us at 800-515-2157. Any oral communications
should be re-confirmed in writing to further protect your rights, including rights under the
Securities Investor Protection Act (SIPA). If you do not so notify us, you agree that the statement
activity and Account balance are correct for all purposes with respect to those brokerage
transactions. IN CASE OF COMPLAINTS: If you have a complaint regarding your Schwab statement,
products or services, please write to Client Service & Support at Charles Schwab & Co., Inc., P.O. Box
982603 El Paso, TX 79998-2603, or call customer service at 800-435-4000. (Outside the US., call
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Address Changes: If you fail to notify Schwab in writing of any change of address or phone number, you
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adjusted cost basis information (if applicable), certain payments to you and credits to your Account during
the calendar year. Retain this statement for income tax purposes. A financial staternent for your inspection is
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Case 24-50792-hlb Doc 61 Entered 10/18/24 15:34:13 Page 43 of 78

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BO cA /0 Account Number Statement Period
MICHAEL EDWARD SATTERFIELD CR} 4323 September 1-30, 2024

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Cc * $26.34K
Uvianage Your Account Octi23. Nov Dec Jan'24 Feb Mar Apr May Jun Jul Aug Sep
This Statement YTD
Customer Service and Trading:
ca your Schwab Representative Beginning Value $27,177.04 $28,159.41
800-435-4000 a
arr Customer Service SX Deposits 0.00 0.00
For the most current records on your account a a Withdrawals 0.00 0.00
Qisit schwab.com/login. Statements are in o .
“Carchived up to 10 years online. tL 9 Dividends and Interest 4.42 82.07
1
Rtommitment te Transparency E Transfer of Securities 0.00 0.00
Ee _
RH nt Relationship Summaries and Best Interest a i Market Appreciation/(Depreciation) (566.41) (1,626.43)
ie i i
~Hisclosures are at schwab. com/transparency. a L Zz Expenses 0.00 0.00
Draries Schwab & Co., Inc. Member SIPC. < So 9 .
a a WW _Endi 1g | Value $26, 61 5.05
Sone Assistance wa 5
[S) Veej . ue § Account Ending Value reflects the market value of your cash andi investments. tt does n not include pending
<=} Visit us online at schwab.com < Oop transactions, unpriced securities or assets held outside Schwab's custody.
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Visit schwab.com/stmt to explore the features Oof 5
and benefits of this statement. art

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MICHAEL EDWARD SATTERFIELD

sset Allocation

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tatement Period
September 1-30, 2024

Income Summary

Current
This Period Allocation
B® Cash and Cash Investments 14,900.37 56%
$26.61K WM Equities 11,701.08 44%
|. Other Assets 13.60 <1%
y Total $26,615.05 100%
Ww
a
J . . . °
Sop Account Holdings This Period
SSYMBOL Market % of
Seusip Description Value Accounts
3 Cash 14,900.37 56%
S6ME GAMESTOP CORP NEW 6,879.00 26%
Cc
LLYZLA VIZSLA SILVER CORP) F 4,800.00 18%
—VYROYF VIZSLA ROYALTIES CORP F 22.08 <1%
co
YRYWF VIZSLA ROYALTIES 24 WTFW... 13.60 <1%
Q
Gain or (Loss) Summary
<—
“I Short-Term 7) Long-Term
o)
S Gain (Loss) Net Gain (Loss} Net
“This 15.2 15.28)
~Period 0.00 (15.28) (15.28) 0.00 0.00 0.00
ayTD (15.28) (15.28) 0.00 0.00 0.00
unrealized _ ae ($1,625.38)!

Values may not reflect all of your gains/osses and may be rounded up to the nearest dollar; Schwab has
provided accurate gain and loss information wherever possible for most investments. Cost basis may be
incomplete or unavailable for some of your holdings and may change or be adjusted in certain cases.
Please lagin to your account at Schwab.com for real-time gain/loss information. Statement information
should not be used for tax preparation, instead refer to official tax documenis. For additional information

refer to Terms and Conditions.

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16
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: 5
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i i 5
| no
| Ld ce 0
Jan May Jun Jul Aug Sep Oct Nov Dec
This Period YTD
Federal Tax Status Tax-Exempt Taxable Tax-Exempt Taxable
Bank Sweep Interest 0.00 0.00 6.00 72.07
Schwab One® 0.00 4.42 0.00 10.00
Interest
Total Income $0.00 - $a.a2 $0.00 ~ $82.07
Margin Loan Information
Opening Margin Closing Margin Funds Availabie Securities
Loan Balance Loan Balance to Withdraw * Buying Power *
$0.00 $0.00 $14,900.37 $43,384.00

Margin Loan Rates
Vary by Balance

11.25% - 13.07%

* Values include any cash plus the amount available using margin borrowing.
For more information about the margin feature, please visit schwab.com/margin.

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NOS R700) , Statement Period
MICHAEL EDWARD SATTERFIELD September 1-30, 2024

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'A Message About Your Account

Statement of Financial Condition

“The most recent statement of financial condition for Charles Schwab & Co., Inc. (CS&Co) may be obtained at no cost at http:/Avww.schwab.com/legal/financials or by calling
4-800-435-4000. For clients of independent investment advisors, contact Schwab Alliance at 1-800-647-5465. International clients, call +1-415-667-7870 and Charles Schwab Hong Kong

Atlients, call +852-2101-0500. At June 30, and July 31, 2024, CS&Co had net capital of $8.8 billion and $9.0 billion, respectively, and a net capital requirement of $1.7 billion and $1.8
billion, respectively. A copy of the report may be requested via: Investor Relations, 211 Main Street, San Francisco, CA 94105. independent investment advisors are not owned by,

cattiliated with, or supervised by CS&Co.

+ .
“Positions - Summary
Soe eee sun Chi EMG es es ee eee : ae : ee eee le
<to2 = Begin inv Aue oa Transter ot. 2030 Dividends. “3 Change in noe _ Ending Value "Unrealized.
Neo as of 09/01, . ‘Securities (In/Out) : tre  Reinvested S te Cash Acti = ~ Market Value 0 =) as of 09/30. “Cost Basis : : Gaini{Loss) -
fe a 177. Of: $0. 00. $0. 00 ($566. 41) $26, 615. 05 2 “$13, 326. 461 (1, 625. 5.38)! I
oO _ 5 :
a 2 a
5 Values may not reflect all of your 1 gains/osses: Schwab has provided 2 accurate gain and loss information wherever possible for most investments. Cost basis may be incomplete or - unavailable for some of your holdings
o and may change or be adjusted in certain cases. Statement information should not be used for tax preparation, instead refer to official tax documents. For additional information refer to Terms and Conditions.
®
ce
uCash and Cash Investments
Beginning Ending Change in Period Pending/Unsettled Interest/ % of
tol ype Symbol Description Quantity Price($) Balance($) Balance($) Balance($) Cash($) —- Yield Rate Acct
eCash 14,894.56 14,900.37 5.81 0.00 56%
Total Cash and Cash Investments : ee Bs | LS '$14,894.56° 5 $14,900.37 ee SSBB : oe BBS
<
N
©Positions - Equities
1D Unrealized Est. Annual % of
<jSymbol Description Quantity . Price($) Market Value($) Cost Basis($) Gain/{Loss)($) Est. Yield Income($) Acct
“wt
aSiME GAMESTOP CORP NEW ™ 300.0000 22.93000 6,879.00 8,775.00 (1,896.00) N/A 0.00 26%
nn -
(WROYF VIZSLA ROYALTIES CORP F 16.0000 1.38000 22.08 427.71 (405.63) N/A 0.00 <1%

VZLA VIZSLA SILVER CORP) F™ 2,500.0000 4.92000 4,800.00 4,123.75 676.25 N/A 0.00 18%
ee $14,701.08 $13,326.46 (1,625.38)

Total Equities _

‘0.00 44.

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Schwab One® Account of

WIGS R'Y.Ns! Statement Period
MICHAEL EDWARD SATTERFIELD September 1-30, 2024

"Positions - Other Assets

oO Unrealized Est. Annual % of
Symbol Description Quantity Price($) Market Value($) Cost Basis($) GainLoss)($) Est. Yield income($) Acct
QVRYWF VIZSLA ROYALTIES 24 WTF 16.0000 0.85000 13.60 N/A} N/A! N/A N/A <1%
° WARRANTS EXERCISE

oO EXP: 12/20/24

coTotalOther Assets $18.60 $0.00 $0.00 «$0.00 <1%

+
Transactions - Summary

—

ce

Beginning Gash’ as of 09/01 Deposits «=F Withdrawals FO ‘Purchases oF. Sales/Redemptions. + Dividends/interest + = Expenses“ =" Ending Cash” as of 09/80
gy $1480456 $000 $000 $000 $1389 $442 $000 — $14,900.37
Go Other Activity $0.00 Other activity includes transactions which don't affect the cash balance such as stock transfers, splits, etc.

—jCash (includes any cash debit balance) held in your account plus the value of any cash invested in a sweep money fund.

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Oo
aT ransaction Details

Symbol/ Price/Rate Charges/ Realized

Date Category Action CUSIP Description Quantity per Share($) _Interest($) Amount($) Gain/{Loss)($)
09/11 Other Reverse Split VIZSLA ROYALTIES 25 WTF 16.0000
2 Activity: WARRANTS EXP. 12/31/25
i Other Reverse Split VIZSLA ROYALTIES 25 XXX (166.0000)
tt Activity = REVERSE SPLIT
a99/12 Redemption Cash-In-Lieu VIZSLA ROYALTIES 25 WTF 0.49
a - ne WARRANTS EXP 12/31/25
Ysr3 Redemption Cash-In-Lieu VRYWF VIZSLA ROYALTIES 25 WTF . 0.06

eee WARRANTS EXP. 12/31/25

Redemption Cash-in-Lieu VROYF VIZSLA ROYALTIES CORP F CLASS 0.76

Redemption Cash-In-Lieu VROYF VIZSLA ROYALTIES CORP F CLASS 0.08

BO ae EQUITY

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Schwab One® Account of

MICHAEL EDWARD SATTERFIELD

ool ransaction Details (continued)
NR

Statement Period
September 1-30, 2024

Symbol/ Price/Rate Charges/ Realized
@ate Category Action CUSIP Description Quantity per Share($) interest($) Amount($} Gain/(Loss)($)
“09/27 Interest’ = Credit Interest SCHWAB1 INT 08/29-09/26 4.42

Total Transactions . ad $5.81 $0.00

Oh ate column represents the Settlement/Process date for each transaction.

08/29 through 09/26: $4.42 based on .381% average Schwab One® interest rate paid on 29 days in which your account had an average daily balance of $14,897.59.

sEndnotes For Your Account

(M) Denotes a security that is marginable. Some mutual fund or ETF investments may not be |
immediately marginable.

8/24 15

JT erms and Conditions

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geome & Co., Inc. ("Schwab") for your Account at Schwab ("Account"). Unless otherwise defined herein,
apitalized terms have the same meanings as in your Account Agreement. If you receive any other
Stommunication from any source other than Schwab which purports to represent your holdings at Schwab
including balances held at a Depository Institution) you should verify its content with this statement.
ccrued Income: Accrued Income is the sur of the total accrued interest and/or accrued dividends on
positions held in your Account, but the interest and/or dividends have not been received into your Account.
tcpchwab makes no representation that the amounts shown (or any other amount} will be received. Accrued
ounts are not covered by SIPC account protection until actually received and held in the Account. AIP
Gautomatic Investment Plan) Customers: Schwab receives remuneration in connection with certain
Qransactions effected through Schwab. If you participate in a systematic investment program through
Schwab, the additional information normally detailed on a trade confirmation will be provided upon request.
_cAverage Daily Balance: Average daily composite of all cash balances that earn interest and all loans from
“Schwab that are charged interest. Bank Sweep and Bank Sweep for Benefit Plans Features: Schwab
qgets as your agent and custodian in establishing and maintaining your Deposit Account(s) as a feature of
oyour brokerage Account(s). Deposit accounts held through these bank sweep features constitute direct
bligations of one or more FDIC insured banks ("Program Banks") that are not obligations of Schwab.
unds swept to Program Banks are eligible for deposit insurance from the FDIC up to the applicabte limits
<for each bank for funds held in the same insurable capacity. The balance in the Deposit Accounts can be
cavithdrawn on your order and the proceeds returned to your brokerage Account or remitted io you as provided
ain your Account Agreement. For information on FDIC insurance and its limits, as weil as other important
isclosures about the bank sweep feature(s) in your Account(s), please refer to the Cash Features
Sisclosure Statement available online or from a Schwab representative. Cash: Any Free Credit Balance
owed by us to you payable upon demand which, although accounted for on our books of record, is not
segregated and may be used in the conduct of this firm's business. Dividend Reinvestment Customers:
Dividend reinvestment transactions were effected by Schwab acting as a principal for its own account,
except for the reinvestment of Schwab dividends, for which an independent broker-dealer acted as the
buying agent. Further information on these transactions will be furnished upon written request. Gain (or
Loss): Unrealized Gain or (Loss} and Realized Gain or (Loss) sections ("Gain/Lass Section(s)") contain a
gain or a loss summary of your Account. This information has been provided on this statement at the
request of your Advisor, if applicable. This information is not a solicitation or a recommendation to buy or

i Value includes incomplete, missing or cost basis that is not tracked due to ihe security type. If
cost basis is not available for an investment, you may be able to provide updates. For questions,
please refer to the contact information on the first page of this statement.

sell. Schwab does not provide tax advice and encourages you te consult with your tax
professional. Please view the Cost Basis Disclosure Statement for additicnal information on how.
gain {or loss) is calculated and how Schwab reports adjusted cost basis information to the IRS.
interest: For the Schwab One Interest, Bank Sweep, and Bank Sweep for Benefit Plans features, interest is
paid for a period that may differ from the Statement Period. Balances include interest paid as indicated on
your statement by Schwab or one or more of its Program Banks. These balances do not include interest that
may have accrued during the Statement Period after interest is paid. The interest paid may include interest
that accrued in the prior Statement Period. For the Schwab One Interest feature, interest accrues daily from
the second-to-last business day of the prior month and is posted on the second-to-last business day of the
current month. For the Bank Sweep and Bank Sweep for Benefit Plans features, interest accrues daily from
the 16th day of the prior month and is -credited/posted on the first business day after the 15th of the current
month. If, on any given day, the interest that Schwab calculates for the Free Credit Balances in the Schwab
One Interest feature in your brokerage Account is less than $.005, you will not accrue any interest on that
day. For balances held at banks affiliated with Schwab in the Bank Sweep and Bank Sweep for Benefit
Plans features, interest will accrue even if the amount is less than $.005. Margin Account Customers:
This is a combined statement of your margin account and special memorandum account maintained for you
under Section 220.5 of Regulation T issued by the Board of Governors of the Federal Reserve System. The
permanent record of the separate account as required by Regulation T is available for your inspection.
Securities purchased on margin are Schwab's collateral for the loan to you. It is important that you fully
understand the risks involved in tracing securities on margin. These risks include: 1) You can jose more
funds than you deposit in the margin account; 2) Schwab can force the sale of securities or other assets in
any of your account(s) to maintain the required account equity without contacting you; 3) You are not entitled
to choose which assets are liquidated nor are you entitled to an extension of time on a margin call; 4)
Schwab can increase its "house" maintenance margin requirements at any time without advance written
notice to you. Market Price: The most recent price evaluation available to Schwab on the last business day
of the report period, normally the last trade price or bid as of market close. Unpriced securities denote that
no market evaluation update is currently available. Price evaluations are obtained from outside parties.
Schwab shali have no responsibility for the accuracy or timeliness of any such valuations. Assets Not Held
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otherwise in Schwab's custody and are being provided as a courtesy to you. Information on Assets Not Held
at Schwab, including but not limited to valuations, is reported solely based on information you provide to

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MICHAEL EDWARD SATTERFIELD

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SIprovided by you or otherwise. Descriptions of Assets Not Held at Schwab may be abbreviated or truncated.
asSome securities, especially thinly traded equities in the OTC market or foreign markets, may not report the
host current price and are indicated as Stale Priced. Certain Limited Partnerships (direct participation
Qprograms) and unlisted Real Estate Investment Trust (REIT) securities, for which you may see a value on
your monthly Account statement that reflects the issuer's appraised estimated value, are not fisted on a
opational securities exchange, and are generally illiquid. Even if you are able to sell such securities, the price
—teceived may be less than the per share appraised estimated value provided in the account statement.
<jMarket Value: The Market Value is computed by multiplying the Market Price by the Quantity of Shares.
CThis is the dollar value of your present holdings in your specified Schwab Account or a summary of the
iMarket Value summed over multiple accounts. Non-Publicly Traded Securities: All assets shown on this
“$tatement, other than certain direct investments which may be held by a third party, are held in your Account.
Values of certain Non-Publicly Traded Securities may be furnished by a third party as provided by Schwab's
Skecount Agreement. Schwab shall have no responsibility for the accuracy or timeliness of such valuations.
rhe Securities Investor Protection Corporation (SIPC) does not cover many limited partnership interests.
cpchwab Sweep Money Funds: Includes the primary money market funds into which Free Credit Balances
_<may be automatically invested pursuant to your Account Agreement. Schwab or an affiliate acts and receives
cgompensation as the Investment Adviser, Shareholder Service Agent and Distributor for the Schwab Sweep
Money Funds. The amount of such compensation is disclosed in the prospectus. The yield information for
aschwab Sweep Money Funds is the current 7-day yield as of the statement period. Yields vary. If on any
‘given day, the accrued daily dividend for your selected sweep money fund as calculated for your account is
Llless than % of 1 cent ($0.005), your account will not earn a dividend for that day. In addition, if you do not
accrue at least 1 daily dividend of $0.01 during a pay period, you will not receive a money market dividend for
that period. Schwab and the Schwab Sweep Money Funds investment advisor may be voluntarily reducing a
“Dortion of a Schwab Sweep Money Fund's expenses. Without these reductions, yields would have been
Cower. Securities Products and Services: Securities products and services are offered by Charles
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unds and net credit balances held in brokerage accounts are not deposits or other obligations of,

Case 24-50792-hlb

Statement Period
September 1-30, 2024

or guaranteed by, any bank, are not FDIC insured, and are subject to investment risk and may lose
value. SIPC does not cover balances held at Program Banks in the Bank Sweep and Bank Sweep
for Benefit Plans features. Please see your Cash Feature Disclosure Statement for more information on
insurance coverage. Yield to Maturity: This is the actual average annual return on a note if held to maturity.
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we have mailed or delivered security certificate(s) that you have not received, notify Schwab
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should be re-confirmed in writing to further protect your rights, including rights under the
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Transaction History for Designated Bene Individual ...318

Transactions found from 09/29/2020 to 09/29/2024

Date ,

Action

Symbol / Description

Quantity

Price Fees & Comm Amount

01/29/2024

01/22/2024

as of
01/19/2024

01/22/2024

as of
01/19/2024

01/22/2024

as of
01/19/2024

12/12/2023

Reverse
Split

Expired

Expired

Shares

09/28/2023

https://client.schwab.com/app/accounts/history/#/

Open

Expired

Journaled

Buy to

MMAT
META MATLS
INC

MMAT

01/19/2024
10.00 C

CALL META
MATLS INC $10

EXP 01/19/24

MMAT

01/19/2024 1.00
Cc

CALL META
MATLS INC $1

350

-50

-100

EXP 01/19/24

MMAT

01/19/2024 0.50
Cc

CALL META
MATLS INC $0.5

EXP 01/19/24

MMAT
META MATLS
INC

MMAT

01/19/2024 0.50
Cc

CALL META
MATLS INC $0.5

-300

10,000

51

$0.0704

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Sthue’d , ending 323 ane

$0.03 $33.71 -$186.71

EXP 01/19/24

1/9
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Date , Action Symbol / Description Quantity Price Fees & Comm Amount

09/27/2023 Buy to MMAT 2 $0.03 $1.32 -$7.32
Open 01/19/2024 0.50
Cc
CALL META
MATLS INC $0.5
EXP 01/19/24

09/25/2023 Buy to MMAT 84 $0.03 $55.52 -$307.52
Open 01/19/2024 0.50
C
CALL META
MATLS INC $0.5
EXP 01/19/24

09/15/2023 Buy to MMAT 49 $0.03 $32.39 -$179.39
Open 01/19/2024 0.50
C
~ CALL META
MATLS INC $0.5
EXP 01/19/24

09/08/2023 Buy to MMAT 114 $0.03 $75.35 -$417.35
Open 01/19/2024 0.50
Cc
CALL META
MATLS INC $0.5

04/21/2023 Buy MA 5,000 $0.1854 -$926.98
META MATLS
INC

03/23/2023 Buy to MMAT 100 $0.11 $65.99 -$1,165.99
Open 01/19/2024 1.00
Cc
CALL META
MATLS INC $1
EXP 01/19/24

03/16/2023 Buy MMAT 3,020 $0.4996 -$1,508.79

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Date ,

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Action

Symbol / Description Quantity Price

Fees & Comm

Amount

01/23/2023

as of
01/20/2023

01/23/2023

as of
01/20/2023

01/23/2023

as of
01/20/2023

01/23/2023

as of
01/20/2023

12/27/2022

12/09/2022

Open

Open

https://client.schwab.com/app/accounts/history##/

Expired MMAT

Expired MMAT

Expired MMAT

Expired MMAT
MMAT

Buy to

Buy to

META MATLS
INC

-150
01/20/2023 1.50

Cc

CALL META

MATLS INC $1.5

EXP 01/20/23

01/20/2023 2.50
Cc

CALL META
MATLS INC $2.5
EXP 01/20/23

01/20/2023 5.00.
C

CALL META .
MATLS INC $5
EXP 01/20/23

-100
01/20/2023 2.00

C

CALL META

MATLS INC $2

EXP 01/20/23

150
01/20/2023 1.50

Cc

CALL META

MATLS INC $1.5

EXP 01/20/23

MMAT 49
01/20/2023 2.50
Cc

$0.14

$98.94

$32.29

-$698.94

-$718.29

3/9

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Date y Action Symbol / Description Quantity Price Fees & Comm Amount

CALL META
MATLS INC $2.5
EXP 01/20/23

12/09/2022 Buy to MMAT 20 $0.20 $13.19 -$413.19
Open 01/20/2023 2.00
Cc
CALL META
MATLS INC $2
EXP 01/20/23

12/09/2022 Buyto MMAT 30 $0.20 $19.78 -$619.78
Open 01/20/2023 2.00
CG
CALL META
MATLS INC $2
EXP 01/20/23

12/06/2022 Buy to MMAT 1 $0.14 $0.65 -$14.65
Open 01/20/2023 2.50
Cc
CALL META
MATLS INC $2.5
EXP 01/20/23

11/28/2022 Buy MMAT 6,330 . $1.83 -$11,583.90
META MATLS
INC

11/23/2022 Buy MMAT 36 $1.80 -$64.80
META MATLS
INC

11/23/2022 Buy MMAT 100 $1.80 -$180.00
META MATLS
INC

11/23/2022 . Buy MMAT 2,864 $1.80 -$5,155.20
META MATLS

INC

https://client.schwab.com/app/accounts/history/#/ 4/9

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Date ,

Case 24-50792-hlb Doc 61 Eniayaesbrladba/thalds:shinbs Page 54 of 78

Action

Symbol / Description

Quantity Price

Fees & Comm

Amount

11/16/2022

11/16/2022

10/19/2022

08/23/2022

Buy to
Open

Open

Open

Open

07/22/2022

07/22/2022

Buy to

Buy to

Buy to

04/06/2022

https://client.schwab.com/app/accounts/history/#/

Buy

MMAT
01/20/2023 5.00
Cc

CALL META
MATLS INC $5

EXP 01/20/23

MMAT

01/20/2023 5.00
C

CALL META
MATLS INC $5

EXP 01/20/23

MMAT

01/20/2023 2.00
C

CALL META
MATLS INC $2

74 $0.12

1 $0.12

EXP 01/20/23

MMAT

01/19/2024
10.00 C

CALL META
MATLS INC $10

EXP 01/19/24

MMAT

META MATLS
INC

MMAT

META MATLS
INC

MMAT

META MATLS

INC

50 $0.08

$48.80

$0.65

$33.00

$33.00

1,036  $0.9251

164 $0.9251

1,250 $1.5693

-$936.80

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-$533.00

-$433.00

-$958.40

-$151.72

-$1,961.63

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Date y

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Action

Symbol / Description

Quantity

Price Fees & Comm

Amount

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Sees a
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a

07/29/2021 Buy

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Journal

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Sell

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INC

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1,000

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$2.27

$3.1397

93.5161

$3.805

$3.7101

$3.7101

$0.01

$0.01

-$624.25

-$1,648.34

-$1,230.64

$1,465.48

$18.55

$1,485.99

‘$743.00

-$3,709.40

6/9

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Date + Action Symbol / Description Quantity Price Fees & Comm Amount

META MATLS
INC

07/28/2021 = Sell MMAT 500 $3.5001 $0.01 $1,750.04
META MATLS
INC

07/28/2021 Buy MMAT 500 839 $3.5353 -$1,767.65
META MATLS
INC

07/28/2021 = Sell MMAT 2,000 $3.321 $0.03 $6,641.97
META MATLS
INC

07/28/2021 Buy MMAT 1,900 $3.3999 -$6,459.81
META MATLS
INC

07/28/2021 Buy MMAT 100 $3.3999 -$339.99
META MATLS
INC

07/26/2021 = Sell MMAT 1,000 $3.605 $0.02 $3,604.98
META MATLS
INC

07/26/2021 Buy MMAT 1,000 $3.645 -$3,645.00
META MATLS
INC

07/26/2021 = Sell MMAT 1,000 $3.615 $0.02 $3,614.98
META MATLS
INC

07/26/2021 Buy MMAT 1,000 $3.6264 -$3,626.40
META MATLS
INC

07/21/2021 = Sell MMAT 1,500 $3.8334 $0.03 $5,750.07
META MATLS
INC

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Date Action Symbol / Description Quaniity Price Fees & Comm Amount

07/21/2021 Buy MMAT 1,500 $3.8498 -$5,774.70
META MATLS
INC

07/21/2021 Sell MMAT 1,000 $3.927 $0.02 $3,926.98
META MATLS
INC

07/21/2021 Buy MMAT 1,000 $3.965 -$3,965.00
META MATLS
INC

07/21/2021 Sell MMAT 1,000 $4.19 $0.02 $4,189.98
META MATLS
INC

07/21/2021 Buy MMAT 1,000 $4.0878 -$4,087.80
META MATLS
INC

07/21/2021 = Sell MMAT 1,000 $4.015 $0.02 $4,014.98
META MATLS
INC

07/21/2021 Buy MMAT 1,000 $3.8688 -$3, 868.80
META MATLS
INC

06/29/2021 Reverse MMAT 3,550
Split META MATLS
INC

Page Total: -$34,579.28

intra-day transactions are subject to change.

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted to
your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on the
Balances page.

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Page 58 of 78

Brokerage Products: Not FDIC Insured * No Bank Guarantee * May Lose
Value

The Charles Schwab Corporation provides a full range of brokerage, banking and
financial advisory services through its operating subsidiaries. Its broker-dealer
subsidiary, Charles Schwab & Co. Inc. (Member SIPC), and its affiliates offer
investment services and products. Its banking subsidiary, Charles Schwab Bank,
SSB (member FDIC and an Equal Housing Lender), provides deposit and lending
services and products. This site is designed for U.S. residents. Non-U.S. residents
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https://client.schwab.com/app/accounts/history/#/

Account: ...318
Today's Date: 05:57 PM ET,
09/29/2024

9/9

9/29/24, 6:02 PM

Transaction History for Designated Bene Individual ...318

Transactions found from 09/29/2020 to 09/29/2024

Date ,

Action

Symbol / Description

Quantity

Price

Case 24-50792-hlb Doc 61 Entonestciidn/diaeg4chrieSchtab Page 59 of 78

Fees & Comm

Amount

06/16/2021

06/16/2021

06/15/2021

06/15/2021

06/15/2021

06/15/2021

06/15/2021

06/15/2021

06/14/2021

Sell

Buy

Sell

Buy

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Buy

Sell

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TORCHLIGHT

ENERGY RE

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500

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250

ENERGY RE

$6.1029

$6.0466

$5.4314

$5.265

$5.0212

$4.9564

$5.93

$0.02

$5.9199

$3.54

$0.01

$0.02

$0.01

$3,051.43

-$3,023.30

$2,715.69

-$2,632.50

$2,964.98

-$2,959.95

$2,510.59

-$2,478.20

$885.00

1/2
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Date Action Symbol / Description Quantity

Price Fees & Comm Amount

06/14/2021 Buy TRCH 250 $3.574 -$893.50

TORCHLIGHT
ENERGY RE

06/14/2021 = Sell TRCH 500 $3.5229 $0.01 $1,761.44

TORCHLIGHT
ENERGY RE

06/14/2021 Buy TRCH 500 $3.505 -$1,752.50

TORCHLIGHT
ENERGY RE

10/28/2020 Journal TRCH -7,100

TORCHLIGHT
ENERGY RE

10/28/2020 Journal TRCH 7,100

TORCHLIGHT
ENERGY RE

Intra-day transactions are subject to change.

Page Total: $149.18

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted

to your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on

the Balances page.

(1123-3U5Y, 0924-CLCV)

Brokerage Products: Not FDIC Insured * No Bank Guarantee « May
Lose Value

The Charles Schwab Corporation provides a full range of brokerage, banking and
financial advisory services through its operating subsidiaries. Its broker-dealer
subsidiary, Charles Schwab & Co. Inc. (Member SIPC), and its affiliates offer
investment services and products. Its banking subsidiary, Charles Schwab Bank,
SSB (member FDIC and an Equal Housing Lender), provides deposit and lending
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Account: ...318
Today's Date: 05:57 PM ET,
09/29/2024

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Transaction History for Individual ...323

Transactions found from 10/12/2020 to 10/12/2024

Date y Action Symbol / Description Quantity Price Fees & Comm Amount
12/12/2023 Journaled © MMAT 10,000 $0.0704 Ghares trensferred
Shares  METAMATLS te accon enchny \3I6
INC
10/19/2023 Buy MMAT 10,000  $0.1952 -$1,952.00
META MATLS
INC

Page Total: -$1,952.00
Intra-day transactions are subject to change.

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted to
your account at after market close. Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on the
Balances page.

(1123-3U5Y, 0924-CLCV)

Brokerage Products: Not FDIC Insured * No Bank Guarantee * May Lose Account: ...323
Value Today's Date: 04:31 PM ET,
10/12/2024

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financial advisory services through its operating subsidiaries. Its broker-dealer
subsidiary, Charles Schwab & Co. Inc. (Member SIPC), and its affiliates offer
investment services and products. Its banking subsidiary, Charles Schwab Bank,
SSB (member FDIC and an Equal Housing Lender), provides deposit and lending
services and products. This site is designed for U.S. residents. Non-U.S. residents
are subject to country-specific restrictions. Learn more about our services for non-
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access is prohibited. Usage will be monitored.

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UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
WASHINGTON, D.C. 20549

FORM 8-K

CURRENT REPORT
Pursuant to Section 13 or 15(d)

of the Securities Exchange Act of 1934

Date of Report (Date of earliest event reported): January 23, 2024

Meta Materials Inc.

(Exact name of Registrant as Specified in {ts Charter)

Nevada 001-36247 XX-XXXXXXX
(State or Other Jurisdiction (Commission File Number) CERS Employer
of Incorporation) Identification No.)
60 Highfield Park Dr
Dartmouth, Nova Scotia, Canada B3A 4R9
(Address of Principal Executive Offices) (Zip Cede) '

Registrant’s Telephone Number, Including Area Code: 902 482-5729

Not Applicable

(Former Name or Former Address, if Changed Since Last Report)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:

O Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

Oo Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

O Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
oO

Pre-commencement communications pursuant to Rule |3e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:

Trading
Title of each class Symbol(s) Name of each exchange on which registered
Common Stock, par value $0.001 per share MMAT The Nasdaq Stock Market LLC

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§ 230.405
of this chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§ 240.12b-2 of this chapter).

Emerging growth company O

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If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying
with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. 0

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Item 3.03. Material Modification to Rights of Security Holders.

The disclosure set forth in Item 5.03 below is hereby incorporated by reference into this Item 3.03.

Item 5.03. Amendments to Articles of Incorporation or Bylaws; Change in Fiscal Year.
Series C Preferred Stock Distribution

As previously disclosed, on January 23, 2024, the board of directors (the “Board”) of Meta Materials Inc., a Nevada corporation
(‘“META” or the “Company”), declared a distribution of one share of newly designated Series C Preferred Stock, par value $0.001 per
share (“Series C Preferred Stock’), for each outstanding share of the Company’s common stock, par value $0.001 per share (“Common
Stock”), and each voting right represented by the Company’s Series B Preferred Stock, par value $0.001 per share (“Series B Preferred
Stock”), held of record on February 2, 2024 (the “Record Date’).

General; Transferability. The Board adopted resolutions providing that shares of Series C Preferred Stock will be uncertificated. As a
result, outstanding shares of Series C Preferred Stock will be represented in book-entry form. The certificate of designation governing
Series C Preferred Stock (the "Certificate of Designation") provides that shares of Series C Preferred Stock may not be transferred by
any holder thereof except in connection with a transfer by such holder of any shares of Common Stock held by such holder, in which
case a number of shares of Series C Preferred Stock equal to the number of shares of Common Stock to be transferred by such holder
will be automatically transferred to the transferee of such shares of Common Stock.

Voting Rights. Each share of Series C Preferred Stock will entitle the holder thereof to 1,000 votes per share (and, for the avoidance of
doubt, each fraction of a share of Series C Preferred Stock will have a ratable number of votes). Thus, each share of Series C Preferred
Stock will entitle the holder thereof to 1,000 votes. The outstanding shares of Series C Preferred Stock will vote together with the
outstanding shares of Common Stock as a single class exclusively with respect to (1) any proposal to adopt an amendment to our
Articles of Incorporation to increase the authorized shares of Common Stock from 10,000,000 shares of Common Stock to a minimum
of 250,000,000 shares of Common Stock in accordance with the terms of such amendment (the “Authorized Share Proposal”), and (2)
any proposal to adjourn any meeting of stockholders called for the purpose of voting on the Authorized Share Proposal (the
“Adjournment Proposal’). The Series C Preferred Stock will not be entitled to vote on any other matter, except to the extent required
under the Nevada law.

Unless otherwise provided on any applicable proxy or ballot with respect to the voting on the Authorized Share Proposal or the
Adjournment Proposal, as applicable, the holder of each share of Series C Preferred Stock (or fraction thereof) entitled to vote on the
Authorized Share Proposal or the Adjournment Proposal, as applicable, at any meeting of stockholders held to vote on the Authorized
Share Proposal will be cast in the same manner as the vote, if any, of the holder of the share of Common Stock (or fraction thereof) in
respect of which such share of Series C Preferred Stock (or fraction thereof) was issued as a dividend is cast on the Authorized Share
Proposal or the Adjournment Proposal, as applicable, and the proxy or ballot with respect to shares of Common Stock held by any
holder on whose behalf such proxy or ballot is submitted will be deemed to include all shares of Series C Preferred Stock (or fraction
thereof) held by such holder. Holders of Series C Preferred Stock will not receive a separate ballot or proxy to cast votes with respect to
the Series C Preferred Stock on the Authorized Share Proposal or the Adjournment Proposal brought before any meeting of
stockholders held to vote on the Authorized Share Proposal.

Dividend Rights. The holders of Series C Preferred Stock, as such, will not be entitled to receive dividends of any kind.

Liquidation Preference. The Series C Preferred Stock will rank senior to the Common Stock and Series B Preferred Stock as to any
distribution of our assets upon a liquidation, dissolution or winding up of the Company, whether voluntarily or involuntarily (a
“Dissolution”). Upon any Dissolution, each holder of outstanding shares of Series C Preferred Stock will be entitled to be paid out of
our assets available for distribution to stockholders, prior and in preference to any distribution to the holders of Common Stock, an
amount in cash equal to $0.001 per outstanding share of Series C Preferred Stock.

Redemption. Ali shares of Series C Preferred Stock that are not present in person or by proxy at any meeting of stockholders held to
vote on the Authorized Share Proposal as of immediately prior to the opening of the polls at such meeting (the “Jnitial Redemption
Time”) will automatically be redeemed by us at the Initial Redemption Time without further action on our part or on the part of the
holder of shares of Series C Preferred Stock (the “Jnitial Redemption”). Any outstanding shares of Series C Preferred Stock that have
not been redeemed pursuant to the Initial Redemption will automatically be redeemed in whole, but not in part, at the close of business
on the earlier of (i) the business day established by the Board in its sole discretion and (ii) automatically without further action or
formality on the part of the Company or the holder thereof upon the approval by the Company’s stockholders of the Authorized Share
Proposal! at any meeting of the stockholders held for the purpose of voting on such proposal.

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Each share of Series C Preferred Stock redeemed in accordance with the Certificate of Designation will be deemed to be redeemed
immediately prior to the redemption time described above. From and after such redemption time, each share of Series C Preferred
Stock

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redeemed pursuant to the Certificate of Designation will no longer be deemed to be outstanding and all rights in respect of such share
of Series C Preferred Stock will cease, except for the right to receive $0.001 in cash.

Miscellaneous. The Series C Preferred Stock is not convertible into, or exchangeable for, shares of any other class or series of our
stock or other securities. The Series C Preferred Stock has no stated maturity and is not subject to any sinking fund.

The Certificate of Designation was filed with the Nevada Secretary of State and became effective on January 26, 2024. The foregoing
description of the Series C Preferred Stock does not purport to be complete and is qualified in its entirety by reference to the Certificate
of Designation, which is filed as Exhibit 3.1 to this Current Report on Form 8-K, and is incorporated herein by reference.

Reverse Stock Split

On January 26, 2024, the Company filed a Certificate of Change (the “Certificate of Change”) with the Nevada Secretary of State to
effect the previously announced one-for-one hundred reverse split of the Company’s issued and outstanding Common Stock (the
“Reverse Stock Split”), and the Reverse Stock Split became effective in accordance with the terms of the Certificate of Amendment at
12:01 a.m. Pacific Time on January 29, 2024 (the “Effective Time”). The Reverse Stock Split was approved by the Board in accordance
with Nevada law.

At the Effective Time, every one hundred shares of Common Stock issued and outstanding were automatically combined into one share
of Common Stock, without any change in the par value per share. The exercise prices and the number of shares issuable upon exercise
of outstanding stock options, equity awards and warrants, and the number of shares available for future issuance under the equity
incentive plans have been adjusted in accordance with their respective terms. The Reverse Stock Split will affect all stockholders
uniformly and will not alter any stockholder’s percentage interest in the Company’s Common Stock. The Company will not issue any
fractional shares in connection with the Reverse Stock Split. Instead, fractional shares will be rounded up to the next largest whole
number. The Reverse Stock Split will not modify the relative rights or preferences of the Common Stock.

The Company’s transfer agent, Equiniti Trust Company, LLC, is the exchange agent for the Reverse Stock Split and will correspond
with stockholders of record regarding the Reverse Stock Split. Stockholders owning shares via a broker or other nominee will have
their positions automatically adjusted to reflect the Reverse Stock Split.

The Company’s common stock will begin trading on the Nasdaq Capital Market on a split-adjusted basis on Monday, January 29, 2024.
The new CUSIP number for the Common Stock following the Reverse Stock Split is 59134N302.

The foregoing description of the Certificate of Change does not purport to be complete and is subject to, and is qualified in its entirety
by reference to the Certificate of Change, which is filed as Exhibit 3.2 to this Current Report on Form 8-K, and is incorporated herein
by reference.

Item 7.01. Regulation FD Disclosure.

On January 23, 2024, the Company issued press releases announcing the Reversed Stock Split and the Series C Preferred Stock
distribution. A copy of the press releases are furnished as Exhibits 99.1 and 99.2, respectively, to this Current Report on Form 8-K and
are incorporated herein by reference.

The information in Item 7.01 shall not be deemed “filed” for purposes of Section 18 of the Securities Exchange Act of 1934, as
amended (the “Exchange Act”), nor shall it be deemed incorporated by reference in any filing under the Securities Act of 1933, as

amended, or the Exchange Act, except as shall be expressly set forth by specific reference in such filing,

Item 9.01. Financial Statements and Exhibits.

(d) Exhibits.

Exhibit Description

No.

3.1 Certificate of Designation of Series C Preferred Stock, filed on January 26,2024.

3.2 Certificate of Change, filed on January 26, 2024.

99.1 Press Release, dated January 23,2024 (regarding Reverse Stock Split).

99.2 Press Release, dated January 23, 2024 (regarding Series C Preferred Stock distribution),
104 Cover Page Interactive Data File (embedded within Inline XBRL document).

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SIGNATURES

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf
by the undersigned thereunto duly authorized.

META MATERIALS INC,

Date: January 29, 2024 By: /s/ Uzi Sasson

Uzi Sasson
President and Chief Executive Officer

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EX-3.1 2 mmat-ex3_1.htm EX-3.1

Exhibit 3.1

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FRANCISCO V. AGUILAR
Secretary of State

202 North Carson Street
Carson City, Nevada 89701-4201
(775).684-5708

Website: www. hvsos.gov

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Number of Pages

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” Certificate, Amendment or Withdrawal of Designation

NRS 78.1955, 78.1955(6)

Certificate of Designation
(_] Certificate of Amendment to Designation.- Before Issuance of Class or Series
(] Certificate of Amendment to Designation - After Issuance of Class or Serles.

("] Gertificate of Withdrawal of Certificate of Designation

TYPE OR PRINT - USE

DARK INK ONLY - DO NOT HIGHLIGHT

1.. Entity information:

Name of entity:

[Meta Materials inc.

Entity or Nevada Business Identification Number (NVID): INvaoo7 1747429 |

2, Effective date and
time:

For Gertificate-of Designation or ft
Amendment te Designation Only Date: L | Time:
(Optional): (must not be fater than 90 days after the certificate is filed)

3, Class-or series of
stock: (Certificate of
Designation only)

{Series C Preferred Stock

The class or serias of stock being designated within this filing:

1

4. Information for
amendment of class
or-serles of stock:

| The original class or series of stock being amended within this filing: |

|

5. Amendment of
class or serles of
stock:

[1] Certificate of Amendment to Designation- Before Issuance of Class or Series
As of the date of this: certificate no shares of the class or setiés of stock have been issued.

[_] Certificate of Amendment to Designation- After Issuance of Class or Series
The amendment has been approved by the vote. of stackhaldets holding shares in thé corporation
entitling them to exerelse a majority of the voting power, or such greater proportion of the’ voting
power as may be required by the articles of incorporation or the certificate of designation.

6, Resolution:

By resolution of the board of directors pursuant toa provision In the articles of incorporation this

Certificate of Designation | certificate establishes OR amends the following regarding the voting powers, dasignations,
and Amendment to preferences, imitations, restrictions and relative rights of the following class or series of stock.”
Designation only) NOW, THEREFORE, BE IT RESOLVED, that, pursuant to authority |

conferred upon the Board of Directors by the Articles ... (SEE ATTACHED.)

7. Withdrawal:

Designation being?
Withdrawn;

™ Date of |

| Designation:

No-shares of the class or séries of stock being withdrawn are outstanding.

The resolution of the board of directors authorizing the withdrawal of the certificate of
designation establishing the class or series of stock; *

7m DostiBignad by:

8. Signature: (Required) X

Umi Sasson.
‘Slangite oF Oiticer

Date [04/25/2024 __‘|

* Attach additional page(s) if necessary
This form must be accompanied by appropriate fees.

Page.i of 1
Revised: 12/12/2022

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META MATERIALS INC.

CERTIFICATE OF DESIGNATION
OF
SERIES C PREFERRED STOCK

(Pursuant to Section 78.1955 of the Nevada Revised Statutes)

The undersigned, Uzi Sasson, the duly appointed Chief Executive Officer and President of
Meta Materials Inc., a corporation organized and existing under the laws of the State of Nevada
(the “Corperation”), does hereby certify that:

L. The Corporation is authorized to issue 200,000,000 shares of preferred stock, par
valic $0.001 per share (the “Preferred Stock”);

2. The Board of Directors of the Corporation (the “Beard of Directors”), in.
accordance with the Corporation’s Amended and Restated Articles of Incorporation, dated as of
June 24, 2021 (as may be amended and/or restated from time to time, the “Articles of
Incorporation”), adopted the following resolutions by unanimous written consent as of January
22, 2024, with the same force and effect as if adopted at a meeting of the Board of Directors duly
called and held:

WHEREAS, the Articles of Incorporation provides for a class of capital stock of the
Corporation known as preferred stock, consisting of 200,000,000 shares, par value $0,001 per
share (the “Preferred Stock”), issuable from time to time in one or more series,

WHEREAS, the Board of Directors is expressly authorized, by resolution or resolutions,
to provide, out of the unissued shares of Preferred Stock, for series of Preferred Stock and, with
respect to each such series, to fix the number of shares constituting such series, and the designation
of such series, the voting powers, designations, preferences, limitations, restrictions and relative
tights of the shares of such series, to the full extent now or hereafter permitted by the laws. of the
State of Nevada and the Nevada Revised Statues (“NARS”); and

WHEREAS, pursuant to such authority, the Board of Directors desires to fix the voting
‘powers, designations, preferences, limitations, restrictions and relative rights relating to a series of
Preferred Stock.

NOW, THEREFORE, BE IT RESOLVED, that, pursuant to authority conferred upon the
Board of Directors by NRS 78.1955 and the Articles of Incorporation, (1) a series of Preferred
Stock be, and hereby is, authorized by the Board of Directors, (2) the Board of Directors hereby
authorizes the issuance of shares of Series C Preferted Stock as provided for herein, and (3) the
Board of Directors hereby fixes the designations, powers, preferences and rights, and the
qualifications, limitations or restrictions thereof, of such shares of Preferred Stock, in-addition to
any provisions set forth in the Articles of Incorporation that are applicable to-all series of the
Preferred Stack, as follows:

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TERMS OF SERIES C PREFERRED STOCK

l. Designation, Amount and Pat Value. The series of Preferred Stock created hereby shall be
designated as the Series C Preferred Stock (the “Series C Preferred Stock’), and the number of
shares so designated shall be 10,000,000. Each share of Series C Preferred Stock shall have a par
value of $0,001 per share.

2. Dividends. The holders of Series C Preferred Stock,.as such, shall not be entitled to receive
dividends of any kind,

3, Voting Rights. Except as otherwise provided by the Articles of Incorporation of the
Corporation or required by law, the holders of shares of Series C Preferred Stock shall have the
following voting rights:

3.1 Except as otherwise provided herein, each outstanding share of Series C Preferred
Stock shall have 1,000. votes per share (and, for the avoidance of doubt, each fraction of a share of
Series C Preferred Stock shall have a ratable number of votes), The outstanding shares of Series C
Preferred Stock shall vote together with the outstanding shares of common stock, par value $0,001
per share (the “Common Stock”), of the Corporation and the votes represented by the outstanding
share of Series B Preferred Stock, par value $0.00! per share (the “Series B Preferred Stock”), as
a single class exclusively with respect to the Authorized Share Proposal (as defined below) and
the Adjournment Proposal (as defined below) and shall not be entitled to vote on any other matter
except to the extent required under the NRS. Notwithstanding the foregoing, and for the avoidance
of doubt, each share of Series C Preferred Stock (or fraction thereof) redeemed pursuant to the
Initial Redemption (as defined below) shall have no voting power with respect to, and the holder
of each share of Series C Preferred Stock (or fraction thereof) redeemed pursuant to the Initial
Redemption shall have no voting power with respect to any such share of Series C Preferred Stock
(or fraction thereof) on, the Authorized Share Proposal, the Adjournment Proposal or any other
matter brought before any meeting of stockholders held to vote on the Authorized Share Proposal.
As ysed herein, the term “Authorized Share Proposat’ means any proposal to.adopt an amendment
to the Articles of Incorporation of the Corporation to increase thé authorized shares of Common
‘Stock from 10,000,000 shares of Common Stock to.a minimum of 250,000,000 shares of Common
Stock in accordance with the terms of such amendment, As used herein, the term “Adjournment
Proposal’ means any proposal to adjourn any meeting of stockholders called for the purpose of
voting on the Authorized Share Proposal.

3,2 Unless otherwise provided on any applicable proxy or ballot with respect. to the

voting on the Authorized Share Proposal or the Adjournment Proposal, the 1,000 votes per share —

of Series C Preferred Stock (or fraction thereof) entitled to vote on the Authorized Share Proposal,
the Adjournment Proposal or any other matter brought before any meeting of stockholders held to
vote on the Authorized Share Proposal shall be cast in the same manner as the vote, if any, of:

(a) each share of Common Stock (or fraction thereof) in respect of which such share of
Series C Preferred Stock (or fraction thereof) was issued as a distribution is cast on the Authorized
Share Proposal, the Adjournment Proposal or such other matter, as applicable; and

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(b) each Exchangeable Share (as defined in the Certificate of Designation for the
Series B Preferred Stock, as filed with the Office of the Nevada Secretary of State on June 28,
2021), as exercised by TSX Trust Company, as successor to AST Trust Company (Canada) AST
Trust (Canada) (the“7rustee”) through the Series B Preferred Stock in accordance with that certain
Voting and Exchange Trust Agreement made as of June 28, 2021 (the “Voting Agreement’), is
cast on the Authorized Share Proposal, the Adjournment Proposal or such other matter, as
applicable;

where the proxy or ballot with respect to the shares of Common Stock held by any holder on whose
behalf such proxy or ballot is submitted and with respect to the votes exercised by proxy by the
Trustee in accordance with Series B Preferred Stock andthe Voting Agreement will be deemed to
include all shares of Series C Preferred. Stock (or fraction thereof) held by such holder, Holders of
Series C Preferred Stock will not receive a separate ballot or proxy to cast votes with respect to
the Series C Preferred Stock on the Authorized Share Proposal, the Adjournment Proposal or any
other matter brought before any meeting of stockholders held to vote on the Authorized Share
Proposal,

4, Rank; Liquidation,

4.1 The Series C Preferred Stock shall rank senior to the Common Stock and.to the
Series B Preferred Stock as to any distribution of assets upon a liquidation, dissolution or winding
up of the Corporation, whether voluntarily or involuntarily (a “Dissolution’’), For the avoidance
of any doubt, but without limiting the foregoing, neither the merger or consolidation of the
Corporation with or into any other entity, nor the sale, lease, exchange or other disposition of all
or substantially all of the Corporation’s assets shall, in and of itself, be deemed to constitute a.
Dissolution.

4.2 Upon any Dissolution, each holder of outstanding shares of Series C Preferred
Stock shall be entitled to be paid out of the assets of the Corporation available for distribution to
stockholders, prior and in preference to any distribution to: the holders of Common Stock, an
amount in cash equal to $0,001 per outstanding share of Series C Preferred Stock.

5. ‘Redemption.

5.1 All shares of Series C Preferred Stock that are not present in petson or by proxy at
any mec¢ting of stockholders held to vote on the Authorized Share Proposal as of immediately prior
to the opening of the polls:at such meeting (the “Initial Redemption Time”) shall automatically be
redeemed by the Corporation at the Initial Redemption Time without further action or formality
on the part of the Corporation or the holder thereof (the ‘Znitial Redemption’).

5.2 Any outstanding shares of Series C Preferred Stock that have not been redeemed
pursuant to an Initial Redemption shall be redeemed in whole, but not in part, (a) if such
redemption is ordered by the Board of Directors in its sole discretion, automatically and effective
on such time and date specified by the Board of Directors in its sole discretion or (b) automatically
without further action or formality on the part of the Corporation or the holder thereof upon the
approval by the Corporation’s stockholders of the Authorized Share Proposal at any meeting of
the stockholders held for the purpose of voting on such proposal (any such redemption pursuant to

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this Section 5.2, the “Subsequent Redemption” and, together with the Initial Redemption, the
“Redemptions”). As used herein, the “Subsequent Redemption Time” shall mean the effective
time of the Subsequent Redemption, and the “Redemption Time’ shali mean (y) with respect to
the Initial Redemption, the Initial Redemption Time and (z) with respect to the Subsequent
Redemption, the Subsequent Redemption Time.

5,3 Each share of Series C Preferred Stock redeemed in any Redemption. pursuant to
this Section 5 shall be redeemed in consideration for the right to receive an amount equal to $0,001
in cash for each whole share of Series C Preferred Stock that are “beneficially owned” by the
“beneficial owner” (as such terms are defined below) thereof as of immediately prior to the
applicable Redemption Time and redeemed pursuant to such Redemption, payable upon receipt
by the Corporation of a written request submitted by the applicable holder to the corporate
secretary of the Corporation (cach a “Redemption Payment Request’) following the applicable
Redemption Time. Such Redemption Payment Request shall (a) be in a form reasonably
acceptable to the Corporation (b) set forth in reasonable detail the number of shares of Series C
Preferred Stock beneficially owned by the holder at the applicable Redemption Time and include
evidence reasonably satisfactory to the Corporation regarding. the same, and (c) set forth a
calculation specifying the amount in cash owed to such Holder by the Corporation with respect to
the shares of Series C Preferred Stock that were redeemed at the applicable Redemption Time. As
used herein, “Person” shall mean any individual, firm, corporation, partnership, limited liability
company, trust or other entity, and shall include any successor (by merger or otherwise) to such
entity, As used herein, a Person shall be deemed the “beneficial owner” of, and shall be deemed
to “beneficially own,” any securities which such Person is deemed to beneficially own, directly or
indirectly, within the meaning of Rule 13d-3 of the General Rules and Regulations under the
Securities Exchange Act. of 1934, as amended.

54 From and after the time at which any shares of Series C Preferred Stock are called
for redemption (whether automatically or otherwise) in accordance with Section 5,1 or Section 5.2,
such shares of Series C Preferred Stock shall cease to be outstanding, and the only right of the
former holders of such shares of Series C Preferred Stock, as such, will be to receive the applicable
redemption price, if any. The shares of Series C Preferred Stock redeemed by the Corporation
pursuant to this Certificate of Designation shall, upon such redemption, be automatically retired
and restored to the status of authorized but unissued shares of Preferred Stock.

5.5 Notwithstanding anything to the contrary herein or otherwise, and for the avoidance
of doubt, any shares of Series C Preferred Stock (or fraction thereof) that have been redeemed
pursuant to an Initial Redemption shall not be deemed to be outstanding for the purpose of voting
or determining the number of votes entitled to vote on any matter submitted to stockholders
(including the Authorized Share Proposal, the Adjournment Proposal or any other matter brought
before any meeting of stockholders held to vote on the Authorized Share Proposal) from and after
the time of the Initial Redemption. Notice of any meeting of stockholders for the submission to
stockholders of any proposal to approve the Authorized Share Proposal shall constitute notice of
a redemption of shares of Series C Preferred Stock pursuant to an Initial Redemption and result in
the automatic redemption of the applicable shares of Series C Preferred Stock (and/or fractions
thereof) pursuant to the Initial Redemption at the Initial Redemption Time pursuant to Section 5.1
hereof. Notice by the Corporation of the approval by the Corporation’s stockholders of the
Authorized Share Proposal, whether by press release or a filing with the Securities and Exchange

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Commission, shall constitute.a notice of redemption of sharés of Series C Preferred Stock pursuant
to a Subsequent Redemption and result in the automatic redemption of the applicable shares of
Series C Preferred Stock (and/or fractions thereof) pursuant to the Subsequent Redemption at the
Subsequent Redemption Time pursuant to Section 5.2 hereof. In connection with the filing of this
Certificate of Designation, the Corporation has set apart funds. for payment for the redemption of
all shares of Series C Preferred Stock pursuant to the Redemptions and shall continue to keep such
funds apart for such payment through the payment of the purchase price for the redemption of all
such shares, Notwithstanding anything herein to the contrary, the Corporation shall not be required
to pay any redemption proceeds to any holder of Series C Preferred Stock if the amount of the
payment would be less than $100.00.

6. Transfer, Shares of Series C Preferred Stock will be uncertificated and represented in book-
entry form, No share of Series C Preferred Stock may be transferred by the holder thereof except
in connection with a transfer by such holder of the corresponding share of Common Stock held
thereby, in which case a number of shares of Series C Preferred Stock equal to the number of
shares of Common Stock to be transférred by such holder shall be automatically transferred to the
transferee of such shares of Common Stock. Each Series C Preferred Stock shall at all times be
attached to the corresponding share of Common Stock or Series B Preferred Stock in respect of
which such Series C Preferred Stock was issued as a distribution, Notice of the foregoing
restrictions on transfer shall be given in accordance with NRS 78,235,

7. Fractional Shares. The Series C Preferred Stock may be issued in whole shares or in any
fraction ofa share that is one one-thousandth (1/1,000th) of a share or any integral multiple of such
fraction, which fractions shall entitle the holder, in proportion to such holder’s fractional shares,
to exercise voting rights, participate in distributions upon.a Dissolution and have the benefit of any
other rights of holders of Series C Preferred Stock.

8. Severability. Whenever possible, each provision hereof shall be interpreted in a manner as
to be effective and valid under applicable law, but if any provision hereof is held to be prohibited
by or invalid under applicable law, then such provision shall be ineffective only to the extent of
such prohibition or invalidity, without invalidating or otherwise adversely affecting the remaining
provisions hereof.

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IN WITNESS WHEREOF, the undersigned has executed this Certificate of Designation of
Series C Preferred Stock on behalf of the Corporation as of Jainuary 25, 2024,

META MATERIALS INC.
DocuSigned by:

By: [Uni Sassou.

Name: UzPSeeen-

Title: Chief Executive Officer and President

[Signature Page to Certificate of Designation]

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Exhibit 99.2
Meta Materials Announces Distribution of Series C Preferred Stock to Holders of its Common Stock

HALIFAX, NS / ACCESSWIRE / January 23, 2024 / Meta Materials Inc. (the “Company” or “META”) (Nasdaq: MMAT), an
advanced materials and nanotechnology company, today announced that its Board of Directors declared a distribution of
one share of newly designated Series C Preferred Stock, par value $0.001 per share, for each outstanding share of the
Company’s common stock and each voting right represented by the Company’s Series B Preferred Stock held of record as
of 5:00 p.m. Eastern Time on February 2, 2024. The shares of Series C Preferred Stock will be distributed to such
recipients at 5:30 p.m. Eastern Time on February 2, 2024. The outstanding shares of Series C Preferred Stock will vote
together with the outstanding shares of the Company’s common stock, as a single class, exclusively with respect to a
proposal to increase the Company’s authorized shares as well as any proposal! to adjourn any meeting of stockholders
called for the purpose of voting on the increase in authorized shares, and will not be entitled to vote on any other matter,
except to the extent required under the Nevada law. Subject to certain limitations, each outstanding share of Series C
Preferred Stock will have 1,000 votes per share.

All shares of Series C Preferred Stock that are not present in person or by proxy at the meeting of stockholders held to
vote on the increase in authorized shares as of immediately prior to the opening of the polls at such meeting will
automatically be redeemed by the Company. Any outstanding shares of Series C Preferred Stock that have not been so
redeemed will be redeemed if such redemption is ordered by the Company’s Board of Directors or automatically upon the
approval by the Company’s stockholders of an amendment to the Company’s articles of incorporation effecting the
increase of authorized shares at such meeting.

The Series C Preferred Stock will be uncertificated, and no shares of Series C Preferred Stock will be transferable by any
holder thereof except in connection with a transfer by such holder of any shares of the Company’s common stock held by
such holder. In that case, a number of shares of Series C Preferred Stock equal to the number of shares of the Company’s
common stock to be transferred by such holder would be transferred to the transferee of such shares of common stock.

Further details regarding the Series C Preferred Stock will be contained in a Current Report on Form 8-K to be filed by the
Company with the Securities and Exchange Commission. In addition, the Company also intends to file a notice of special
meeting of the Company's stockholders and a preliminary proxy statement to consider the approval of an increase in the
Company’s authorized shares as described herein, if necessary.

About Meta Materials Inc.

Meta Materials Inc. (META) is an advanced materials and nanotechnology company. We develop new products and
technologies using innovative sustainable science. Advanced materials can improve everyday products that surround us,
making them smarter and more sustainable. META® technology platforms enable global brands to develop new products
to improve performance for customers in aerospace and defense, consumer electronics, 5G communications, batteries,
authentication, automotive and clean energy. Learn more at www.metamaterial.com.

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Media and Investor Inquiries

Rob Stone

Vice President, Corporate Development and Communications
Meta Materials Inc.

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Forward Looking Information

This press release includes forward-looking information or statements within the meaning of Canadian securities laws and
within the meaning of Section 27A of the Securities Act of 1933, as amended, Section 21E of the Securities Exchange Act
of 1934, as amended, and the Private Securities Litigation Reform Act of 1995, regarding the Company, which may
include, but are not limited to, statements with respect to the business strategies, product development, restructuring
plans and operational activities of the Company. Often but not always, forward-looking information can be identified by
the use of words such as “pursuing”, “potential”, “predicts”, “projects”, “seeks”, “plans”, “expect”, “intends”, “anticipated”,
“believes” or variations (including negative variations) of such words and phrases, or statements that certain actions,
events or results “may”, “could”, “should”, “would” or “will” be taken, occur or be achieved. Such statements are based on
the current expectations and views of future events of the management of the Company and are based on assumptions
and subject to risks and uncertainties. Although the management of the Company believes that the assumptions
underlying these statements are reasonable, they may prove to be incorrect. The forward-looking events and
circumstances discussed in this release may not occur and could differ materially as a result of known and unknown risk
factors and uncertainties affecting the Company, the capabilities of our facilities, research and development projects of
the Company, the total available market and market potential of the products of the Company, the market position of the
Company, the need to raise more capita! and the ability to do so, the scalability of the Company’s production ability,
capacity for new customer engagements, material selection programs timeframes, the ability to reduce production costs,
enhance metamaterials manufacturing capabilities and extend market reach into new applications and industries, the
ability to accelerate commercialization plans, the possibility of new customer contracts, the continued engagement of our
employees, the technology industry, market strategic and operational activities, and management’s ability to manage and
operate the business. More details about these and other risks that may impact the Company’s businesses are described
under the heading “Forward-Looking Information” and under the heading “Risk Factors” in the Company’s Form 10-K filed
with the SEC on March 23, 2023, in the Company’s Form 10-K/A filed with the SEC on March 24, 2023, in the Company’s
Form 10-Q filed with the SEC on November 13, 2023, and in subsequent filings made by Meta Materials with the SEC,
which are available on SEC’s website at www.sec.gov. Although the Company has attempted to identify important factors
that could cause actual actions, events or results to differ materially from those described in forward-looking statements,
there may be other factors that cause actions, events or results to differ from those anticipated, estimated or intended.
Accordingly, readers should not place undue reliance on any forward-looking statements or information. No forward-
looking statement can be guaranteed. Except as required by applicable securities laws, forward-looking statements speak
only as of the date on which they are made and the Company does not undertake any obligation to publicly update or
revise any forward-looking statement, whether as a result of new information, future events, or otherwise, except to the
extent required by law.

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